Case 1:07-cv-11387-DLC-DCF Document 233-7 Filed 01/14/11 Page 1 of 42

MARKETS

HAYWOOD

=<
SECURETIES IN C.

 

CURTIS FAMILY —_

Suite 2000 - Commerce Place, 400 Burratd Street,
Vancouver, B.C. V6C 3A6

Ph: (604) 697-7100, Fax: (604) 697-7499

Toll Free: 1-800-663-9499

For additional service, contact:

Member

Member:

Canadian Venture Exchange

Toronto Stock Exchange

Investment Dealers Association of Canada

Statement of Account

US DOLLAR CAS! 0902-U
For the period ending September 30, 2002

Previous Statement August 31, 2002

 

 

 

 

 

 

 

 

E&OE 0OJT 689

VANCOUVER BC V6M 1K9 HAROLD HODGSON
Investment Advisor
| ACCOUNT SUMMARY
Estimated
Current Value % of Assets
CASH ON DEPOSIT 97.43 0.0
COMMON SHARES 21,600.00 6.3°
MONEY MARKET 323,791.21 93.7
Total Assets $345,488.64 100.0
CASH SUMMARY |
Opening Cash Amount $ 36.53CR
Deductions Additions
SECURITIES PURCHASED 434,979.48 0.00
INVESTMENT INCOME/EXPENSE 0.00 5.86
CHEQUES ISSUED 117,870.00 2,383.80
SECURITIES SOLD 0.00 550,550.72
Totals $ 552,849.48 $ 552,910.38
Net Changes This Period 60.90CR
Closing Cash Amount $ 97.43CR
SECURITIES SUMMARY |
Securities Estimated % of
Quantity Location Current Price Market Value Assets
COMMON SHARES
CONFIDENTIAL PURSUANT
- TO SECTION 24 (d)
0593
Paget

SEC046167
Case 1:07-cv-11387-DLC-DCF Document 233-7 Filed 01/14/11 Page 2 of 42

fj MARKETS

 
 

CAPITAL ¥

HAYWOOD

INC.

SECURITIFES

Suite 2000 - Commerce Place, 400 Burrard Street,
Vancouver, B.C. V6C 3A6

Ph: (604) 697-7100, Fax: (604) 697-7499

Toll Free: 1-800-663-9499

Statement for the period ending September 30, 2002

Member

Member:

Canadian Venture Exchange

Toronto Stock Exchange

Investment Dealers Association of Canada

CURTIS Fi TRUST
US DOLLAR CAS, ~0902-U

 

=

SECURITIES SUMMARY Continued

:

 

 

 

 

 

 

Securities Estimated % of
Quantity Location Current Price Market Value Assets
INSIDE HOLDINGS INC 20,000 Segregated 1.080 21,600.00 6.3
Market Value of COMMON SHARES 21,600.00 6.3
MONEY MARKET
CDA T BILL USD 020CT2002 111,500 Segregated 99.990 111,488.85 32.3
CDA T BILL USD 290CT2002 212,600 Segregated 99.860 212,302.36 61.5
Market Value of MONEY MARKET 323,791.21 93.7
| ACCOUNT ACTIVITY |
Settlement ~
Date Activity Type Quantity Description Price Amount
09/01 Opening Balance $ 36.53 CR
09/04 Buy 223,000 CDA T BILL USD 020CT2002 99.880 222,732.40 DR
09/04 Adjustment 320,000 INSIDE HOLDINGS INC
09/04 Sell ~ 300,000 INSIDE HOLDINGS INC 75 222,740.00 CR
09/06 Cheque Issued 14255 ISS: TODD PEEVER -- 111,370.00 DR
P/U
09/06 Sell - 117,500 CDA T BILL USD 020CT2002 99.920 111,410.80 CR
09/11 Cheque Issued 69455 ISS: MICHAEL 6,500.00 DR
SKLAVENITIS — P/U
09/11 Cheque Issued 69455 EXCHANGE POSTING 2,353.80 CR
09/11 Sell ~ 4,100 CDA T BILL USD 18SEP2002 99.998 4,099.92 CR
09/18 Sell - 212,300 CDAT BILL USD 18SEP2002 100.00 212,300.00 CR
Osig Buy 212,600 CDA T BILL USD 290CT2002 99.834 212,247.08 DR
09/21 Mthly Interest INTEREST TO 09/21 5.86 CR eT
09/30 Closing Balance $ 97.43 CR
| SUMMARY OF INCOME AND EXPENSES ‘|
Month : Year to Date
Income Expense Income Expense
ACCRUED INTEREST nit 1,432.44 nil
INTEREST 5.86 132.71 8.31
CONFIDENTIAL PURSUANT
- TO SECTION 24 (d)}
0594
Page 2

E&OE OOJT 690

SEC046168
Case 1:07-cv-11387-DLC-DCF Document 233-7 Filed 01/14/11 Page 3 of 42

 

oy Member
CAPITAL . a MARKETS
\ K T Suite 2000 - Commerce Place, 400 Burrard Street, Member:
H AY 0 0 D Vancouver, B.C. V6C 3A6 Canadian Venture Exchange
on tee Ph: (604) 697-7100, Fax: (604) 697-7499 Toronto Stack Exchange
SECURATEIES INE: Toll Free: 1-800-663-9499 Investment Dealers Association of Canada
Statement for the period ending September 30, 2002 CURTIS F. TRUST -

US DOLLAR CAS -0902-U

*** AUDIT CONFIRMATION“*
IF THIS STATEMENT IS NOT CORRECT, KINDLY REPORT ALL DIFFERENCES
DIRECTLY TO OUR AUDITORS:
ELLIS FOSTER, CHARTERED ACCOUNTANTS
1650 WEST 1ST AVENUE
VANCOUVER, BC Vé6J 1G1
FAX: (604) 714-5916

Terms, conditions & other Information:

® This is a statement of your account according to our records. If it is not in accordance with yours, please contact us immediately. Regardless,
we ask that you notify us of any discrepancies, in writing, within 45 days of the date on this statement. Statements will be considered accurate and
complete if not objected to by such date. We reserve the right to adjust this statement for errors and omissions. ~

® The prices shown on this statement, used for the purpose of displaying market values, while obtained from sources believed to be reliable,
cannot be guaranteed as to their accuracy. In any event, market values are shown as “estimated. If "N/A" appears in connection with any specific
security, either there is no price or we were unable to obtain a reliable one.

® We anticipate prompt settlement of cash balances due to us,

® Credit balances are payable on request, upon receipt by us of secutities in “good delivery" form that may be owed by you.

® Any free credit balances, with the exception of balances held for registered plans, represent funds payable on demand, which
although properly recorded in our books, are not segregated and may be used in the conduct of our business.

© Please refer to your account number on all correspondence.

® Astatement of financial condition and a list of shareholders, directors and senior officers of our firm are available on request.

© Our clients in British Columbia are entitled to certain information about us, including information about commissions and fees, and about any
administrative proceedings that may relatetothefirm orour staff. Ifyou have any questions, please contact yourinvestmentadvisor, Charles Dunlap—Chief
Financial Officer, or Robert Blanchard, Chief Operating Officer.

® Customers’ accounts are protected by the Canadian Investor Protection Fund within specified limits. A brochure describing the nature and
limits of coverage is available upon request. ,

® Securities transactions, as shown on this statement are disclosed to Revenue Canada Taxation on a yearly basis. The income or capital gain
from these transactions must be reported on your annual income tax return. Please keep this statement for income tax purposes, as no other form
will be provided in respect of these transactions.

© Current Price is reported consistent with the currency of your account i.e. a Canadian funds account will show all holdings as a Canadian
value and,conversely, the price of all secutities in a U.S. funds account will be U.S.,regardless of the market on which the securities trade.

© The following abbreviated codes will be used to describe securities held in an account as applicable; NVS - Non-voting shares, SVS ~
Subordinated voting shares, RVS - Restricted voting shares, RS - Restricted shares. .

©@ LEVERAGE DISCLOSURE STATEMENT: Using borrowed money to finance the purchase of securities involves greater risk than a purchase
using cash resources only. If you borrow money to purchase securities, your responsibility to repay the loan and pay interest as required by its terms
remains the same even if the value of the securities purchased declines.

CONFIDENTIAL PURSUANT
- TO SECTION 24 (d)

0595

Page 3
E&OE OT 691

SEC046169
Case 1:07-cv-11387-DLC-DCF Document 233-7 Filed 01/14/11 Page 4 of 42

 

Member

 

 

 

 

 

 

 

 

 

CAPITAL Me Sg MARKETS
Suite 2000 - Commerce Place, 400 Burrard Street, Member:
H AY W 0 0 D Vancouver, B.C. V6C 346 Canadian Venture Exchange
er Ph: (604) 697-7100, Fax: (604) 697-7499 Toronto Stock Exchange
SECURITIES INC, Toll Free: 1-800-663-9499 Investment Dealers Association of Canada
Statement of Account
CANADIAN DOLLAR CASH -0902-C
For the period ending October 31, 2002
Previous Statement September 30, 2002
CURTIS FAMILY.
For additional service, contact:
VANCOUVER BC V6M 1K9 HAROLD HODGSON
Investment Advisor
[ ACCOUNT SUMMARY |.
Estimated
Current Value : % of Assets
CASH ON DEPOSIT 0.00 0.0
COMMON SHARES 8,000.00 100.0
Total Assets $8,000.00 100.0
CASH SUMMARY
Opening Cash Amount $0.00
No Cash Transactions This Month
SECURITIES SUMMARY |
Securities Estimated % of
Quantity Location Current Price Market Value Assets
COMMON SHARES
AYOTTE MUSIC INC 100,000 Segregated .080 8,000.00 _ 100.0
Market Value of COMMON SHARES 8,000.00 100.0
| ACCOUNT ACTIVITY |
Settiement
Date Activity Type Quantity Dascription Price Amount
No Transactions This Month
CONFIDENTIAL p
U,
. TO SECTION 2a, ee
Page 1

E&OE OOJT 640

SEC046170
Case 1:07-cv-11387-DLC-DCF Document 233-7 Filed 01/14/11 Page 5 of 42

 

Member
CAPITAL - MARKETS
Suite 2000 - Commerce Place, 400 Burrard Street, Member:
H A Y W 0 0 D Vancouver, B.C. V6C 3A6 Canadian Venture Exchange
eee ener Ph: (604) 697-7100, Fax: (604) 697-7499 Toronto Stock Exchange
SECURITLES INE: Toll Free: 1-800-663-9499 Investment Dealers Association of Canada
Statement for the period ending October 31, 2002 CURTIS FAMILY TRUST
CANADIAN DOLLAR CAS! 1902-C

Terms, conditions & other information:

This is a statement of your account according to our records. If it is not in accordance with yours, please contact us immediately. Regardlass,
we ask that you notify us of any discrepancies, in writing, within 45 days of the date on this statement. Statements will be considered accurate and
complete if not objected to by such date. We reserve the right to adjust this statement for errors and omissions.

The prices shown on this statement, used for the purpose of displaying market values, while obtained from sources believed tobe reliable,
cannot be guaranteed as to their accuracy. In any event, market values are shown as “estimated”. if "N/A° appears in connection with any specific
security, either there is no price or we were unable to obtain a reliable one.

We anticipate prompt settlement of cash balances due to us.

Credit balances are payable on request, upon receipt by us of securities in “good delivery” form that may be owed by you.

Any free credit balances, with the exception of balances held for registered plans, represent funds payable on demand, which
although property recorded in our books, are not segregated and may be used in the conduct of our business.

Please refer to your account number on all correspondence, ‘

Astatement of financial condition and a list of shareholders, directors and senior officers of our firm aro available on request.

Our clients in British Columbia are entitled to certain information about us, including information about commissions and fees, and about any
administrative proceedings thatmay relate tothe firm orourstaff. fyouhaveany questions, please contact yourinvestmentadvisor, Charles Dunlap—Chief
Financia! Officer, or Robert Blanchard, Chief Operating Officer. :

Customers’ accounts are protected by the Canadian Investor Protection Fund within specified limits. A brochure describing the natura and—

limits of coverage is available upon request.

Securities transactions, as shown on this statement are disclosed to Revenue Canada Taxation on a yearly basis. The income or capital gain
from these transactions must be reported on your annual income tax return. Please keep this statement for income tax purposes, as no other form
will ba provided in respect of these transactions.

Current Price is reported consistent with the currency of your account i.e. a Canadian funds account will show all holdings as a Canadian
value and,conversely, the price of all securities in'a U.S. funds account will be U.S.,regardless of the market on which the securities trade.

The following abbreviated codes will be used to describe securities held in an account as applicable; NVS - Non-voting shares, SVS —
Subordinated voting shares, RVS — Restricted voting shares, RS - Restricted shares.

LEVERAGE DISCLOSURE STATEMENT: Using borrowed money to finance the purchase of securities involves greater risk than a purchase
using cash resources only. If you borrow money to purchase securities, your responsibility to repay the loan and pay interest as required by its terms
remains the same even if the value of the securities purchased declines.

- CONFIDENTIAL PURSUANT
TO SECTION 24 (a)

0597

Page 2

E&OE OOUT 641

SEC046171
Case 1:07-cv-11387-DLC-DCF Document 233-7

b..

CAPITAL -& MARKETS

HAYWOOD

  

Suite 2000 ~ Commerce Place, 400 Burrard Street,
Vancouver, B.C. V6C 3A6
Ph: (604) 697-7100, Fax: (604) 697-7499

Filed 01/14/11 Page 6 of 42

Member

Member:
Canadian Venture Exchange
Toronto Stack Exchange

 

 

 

 

 

 

 

 

 

 

 

SECURITIES INC: Toll Free: 1-800-663-9499 Investment Dealers Association of Canada
Statement of Account
US DOLLAR CAS -0902-U
For the period ending October 31, 2002
Previous Statement September 30, 2002
CURTIS FAMILY TRUST
For additional service, contact:
VANCOUVER BC V6M 1K9 HAROLD HODGSON
Investment Advisor
| ACCOUNT SUMMARY |
Estimated
Current Value % of Assets
CASH ON DEPOSIT 324,336.80 94.2
COMMON SHARES 20,000.00 5.8
Total Assets $344,336.80 100.0
| CASH SUMMARY |
Opening Cash Amount $ 97.43CR
Deductions Additions
SECURITIES PURCHASED 111,563.73 0.00
INVESTMENT INCOME/EXPENSE 0.00 3.10
SECURITIES SOLD 0.00 435,800.00
Totals . $ 111,563.73 $ 435,803.10
Net Changes This Period 324,239.37CR
Closing Cash Amount $ 324,336.80CR
SECURITIES SUMMARY
Securities Estimated % of
Quantity Location Current Price Market Value Assets
COMMON SHARES
SHEP TECHNOLOGY INC 20,000 Segregated 1.000 20,000.00 100.0
Market Value of COMMON SHARES , 20,000.00 100.0
. CONFIDENTIAL PURSUANT
TO SECTION 24 (d)
0598

E&OE 0OJT 642

Page 1

SEC046172
Case 1:07-cv-11387-DLC-DCF Document 233-7 Filed 01/14/11 Page 7 of 42

 

vy Member
CAPITAL My SG MARKETS
Suite 2000 - Commerce Place, 400 Burrard Street, "Member:
H A Y W 0 0 D Vancouver, B.C, V6C 3A6 Canadian Venture Exchange
ee ee ee Ph: (604) 697-7100, Fax: (604) 697-7499 Toronto Stock Exchange
SECURETLES INC. Toll Free: 1-800-663-9499 Investment Dealers Association of Canada
Statement for the period ending October 31, 2002 CURTIS F: TRUST

US DOLLAR CAS -0902-U

 

 

 

 

| ACCOUNT ACTIVITY
Settlement
Date Activity Type Quantity Description Price Amount
10/04 Opening Balance $ 97.43 CR
40/02 Sell — 141,500 CDA T BILL USD 020CT2002 100.00 411,500.00 CR
10/03 Buy 141,700 RYL 8K B/A USD 310CT2002 99.878 111,563.73 DR
10/10 Security Exchange - 20,000 INSIDE HOLDINGS INC
10/10 Security Exchange 20,000 SHEP TECHNOLOGY INC
10/21 Mihly interest INTEREST TO 10/21 3.10 CR
10/29 Sell — 212,600 CDA T BILL USD 290CT2002 100.00 212,600.00 CR
10/31 Sell - 111,700 RYL BK B/A USD 310CT2002 100.00 111,700.00 CR
10/31 Closing Balance $ 324,336.80 CR
| , SUMMARY OF INCOME AND EXPENSES
Month Year to Date
income Expense Income Expense
ACCRUED INTEREST nil . nil 1,432.44 nil
INTEREST 3.10 nil 135.81 8.31

Terms, conditions & other Information:

This is a statement of your account according to our records. If it is not in accordance with yours, please contact us immediately. Regardless,
we ask that you notily us of any discrepancies, in writing, within 45 days of the date on this statement. Statements will be considered accurate and

complete if not objected to by such date. We reserve the right to adjust this statement for errors and omissions. —
The prices shown on this statement, used for the purpose of displaying market values, while obtained from sources believed to be reliable,
cannot be guaranteed as to their accuracy. In any event, market values are shown as “estimated”. If "N/A" appears in connection with any specific ——_—_
security, either there is no price or we were unable to obtain a reliable one. —
We anticipate prompt settlement of cash balances due to us.
Credit balances are payable on request, upon receipt by us of securities in “good delivery” form that may be owed by you.
Any free credit balances, with the exception of balances held for registered plans, represent funds payable on demand, which
although properly recorded in our books, are not segregated and may be used in the conduct of our business.
Please refer to your account number on alt correspondence.
Astatement of financial condition and a list of shareholders, directors and senior officers of our firm are available on request.
Our clients in British Columbia are entitled to certain information about us, including information about commissions and fees, and about any
administrative proceedings that may relate to the firm orourstaff, Ifyou have any questions, please contact yourinvestmentadvisor, Charles Dunlap -Chief
Financial Officer, or Robert Blanchard, Chief Operating Officer.
Customers’ accounts are protected by the Canadian Investor Protection Fund within specified limits. A brochure describing the nature and
limits of coverage Is available upon request.
Securities transactions, as shown on this statement are disclosed to Revenue Canada Taxation on a yearly basis. The income or capital gain
from these transactions must be reported on your annual income tax return. Please keep this statement for income tax purposes, as no other form
will be provided in respect of these transactions.
. CONFIDENTIAL PURSUANT
TO SECTION 24 (d)
0599
Page 2

E&OE OO0JT 643

SEC046173
Case 1:07-cv-11387-DLC-DCF Document 233-7. Filed 01/14/11 Page 8 of 42

 

ow Member
CAPITAL ae MARKETS
, : Suite 2000 - Commerce Place, 400 Burrard Street, Member:
H A Y W 0 0 D Vancouver, B.C. V6C 3A6 Canadian Venture Exchange
Ph: (604) 697-7100, Fax: (604) 697-7499 Toronto Stock Exchange

SECURITIES VIN. Toll Free: 1-800-663-9499 Investment Dealers Association of Canada
Statement for the period ending October 31, 2002 CURTIS FAMILY TRUST
: US DOLLAR CAS) -0902-U

Terms, conditions & other information: (Continued)

© Current Price is reported consistent with the currency of your account i.e. a Canadian funds account will show ail holdings as a Canadian
value and,conversely, the price of all securities in a U.S. funds account will be U.S.,regardiess of the market on which the securities trade.

© The following abbreviated codes will be used to describe securities held in an account as applicable; NVS — Non-voting shares, SVS —
Subordinated voting shares, RVS ~ Restricted voting shares, RS - Restricted shares.

® LEVERAGE DISCLOSURE STATEMENT: Using borrowed money to finance the purchase of securities involves greater risk than a purchase
using cash resources only. If you borrow money to purchase secutities, your responsibility to repay the loan and pay interest as required by its terms
remains the same even if the value of the secutities purchased declines.

CONFIDENTIAL PURSUANT

TO SECTION 24 {d)

0600

Page 3
E&OE OOUT 644
‘Case 1:07-cv-11387-DLC-DCF Document 233-7 Filed 01/14/11 Page 9 of 42

 

he Member
CAPITAL -45 BP MARKETS
Suite 2000 - Commerce Place, 400 Burrard Street, Member:

H AY W 0 0 D Vancouver, B.C. V6C 3A6 Canadian Venture Exchange

ee en Ph: (604) 697-7100, Fax: (604) 697-7499 Toronto Stock Exchange
SECURIUTILES INC. Toll Free: 1-800-663-9499 Investment Dealers Association of Canada

Statement of Account
CANADIAN DOLLAR CAS -0902-C

For the period ending November 30, 2002"

Previous Statement October 31, 2002

 

 

 

 

 

 

 

 

 

CURTIS FAMILY TRUST ;
For additional service, contact:
VANCOUVER BC V6M 1K9 HAROLD HODGSON
investment Advisor
{ | ACCOUNT SUMMARY
Estimated
Current Value .% of Assets
CASH ON DEPOSIT 0.00 0.0
COMMON SHARES 5,000.00 100.0
Total Assets $5,000.00 100.0
CASH SUMMARY
Opening Cash Amount $0.00
No Cash Transactions This Month
{ SECURITIES SUMMARY
Securities Estimated % of
Quantity Location Current Price Market Value Assets
COMMON SHARES
VERB EXCHANGE INC 20,000 Segregated -250 5,000.00 100.0
Market Value of COMMON SHARES 5,000.00 100.0
| | ACCOUNT ACTIVITY
Settlement
Date Activity Type Quantity Description Price Amount
11/01 Opening Balance $0.00
HAS Security Exchange —- 100,000 AYOTTE MUSIC ING
VAN5 Security Exchange 20,000 VERB EXCHANGE INC
11/30 Closing Balance ~ $0.00
CONFIDENTIAL PURSUANT
- TO SECTION 24 (d) :
0601
Page

E&OE 00JT 252

SEC046175
Case 1:07-cv-11387-DLC-DCF Document 233-7 Filed 01/14/11 Page 10 of 42

ay. Member
CAPITAL RAB MARKETS

rN
Suite 2000 - Commerce Place, 400 Burrard Street, Member:
HH AY Vancouver, B.C, V6C 3A6 Canadian Venture Exchange

er Ph: (604) 697-7100, Fax: (604) 697-7499 Toronto Stock Exchange
SECURITLES i NC: Toll Free: 1-800-663-9499 Investment Dealers Association of Canada
Statement for the period ending November 30, 2002 CURTIS FAMILY TRUST
CANADIAN DOLLAR CAS: 102-C

Terms, conditions & other Information:

© This is a statement of your account according to our records. if it is not in accordance with yours, please contact us immediately. Regardless,
we ask that you notify us of any discrepancies, in writing, within 45 days of the date on this statement. Statements will be considered accurate and
complete if not objected to by such date. We reserve the right to adjust this statement for errors and omissions.

® The prices shown on this statement, used for the purpose of displaying market values, while obtained from sources believed to be reliable,
cannot be guaranteed as to their accuracy. In any event, market values are shown as "estimated". If "N/A" appears in connection with any specific
security, either there is no price or we were unable to obtain a reliable one.

® We anticipate prompt settlement of cash balances due to us.

® Credit balances are payable on request, upon receipt by us of securities In “good delivery" form that may be owed by you.

® Any free credit balances, with the exception of balances held for registered plans, represent funds payable on demand, which
although properly recorded in our books, are not segregated and may be used in the conduct of our business.

® Please refer to your account number on all correspondence.

® Astatement of financial condition and a list of shareholders, directors and senior officers of our firm are available on request.

® Our clients in British Columbia are entitled to certain information about us, including information about commissions and fees, and about any
administrative proceedings thatmay relate tothe firm orour staff. Ifyou have any questions, please contact yourinvestmentadvisor, Charles Dunlap - Chief
Financial Officer, or Robert Blanchard, Chief Operating Officer.

© Customers’ accounts are protected by the Canadian Investor Protection Fund within specified limits. A brochure describing the nature and__

limits of coverage is available upon request. :

Securities transactions, as shown on this statement are disclosed to Revenue Canada Taxation on a yearly basis. The income or capital gain

from these transactions must be reported on your annual income tax return. Please keep this statement for income tax purposes, as no other form

will be provided in respect of these transactions.

Current Price is reported consistent with the currency of your account i.e. a Canadian funds account will show all holdings as a Canadian

value and,conversely, the price of all securities in a U.S. funds account will be U.S.,regardless of the market on which the securities trade.

® The following abbreviated codes will be used to describe securities held in an account as applicable; NVS ~ Non-voting shares, SVS -
Subordinated voting shares, RVS - Restricted voting shares, RS — Restricted shares.

® LEVERAGE DISCLOSURE STATEMENT: Using borrowed money to finance the purchase of securities involves greater risk than a purchase
using cash resources only. If you borrow money to purchase securities, your responsibility to repay the loan and pay interest as required by its terms
remains the same even if the value of the securities purchased declines.

CONFIDENTIAL PURSUANT
TO SECTION 24 (d)

0602

Page 2
E&OE OOJT 253

SEC046176
Case 1:07-cv-11387-DLC-DCF Document 233-7 Filed 01/14/11 Page 11 of 42

  
  
 

 

 

 

 

 

 

 

 

 

wy Member
CAPITAL SN a. MARKETS
Suite 2000 - Commerce Place, 400 Burrard Street, Member:
H AY W 0 0 D Vancouver, B.C. V6C 3A6 Canadian Venture Exchange
ae Ph: (604) 697-7100, Fax: (604) 697-7499 Toronto Stock Exchange
SECURITIES INC, Toll Free: 1-800-663-9499 Investment Dealers Association of Canada
Statement of Account
US DOLLAR CASHES 902-U
For the period ending November 30, 2002
Previous Statement October 31, 2002
CURTIS FAMILY TRUST
For additional service, contact:
VANCOUVER BC 77 , HAROLD HODGSON
investment Advisor
| ACCOUNT SUMMARY |
Estimated
Current Value % of Assets
CASH ON DEPOSIT 77.88 0.0
COMMON SHARES 25,250.00 7.3
MONEY MARKET 319,962.39 92.7
Total Assets $345,290.27 100.0
| CASH SUMMARY |
Opening Cash Amount $ 324,336.80CR
Deductions Additions
SECURITIES PURCHASED 324,301.27 0.00
INVESTMENT INCOME/EXPENSE 0.00 42.35
Totals $ 324,301.27 $ 42,35
Net Changes This Period $24,258.92DR
Closing Cash Amount $ 77.88CR
SECURITIES SUMMARY
Securities Estimated % of
Quantity Location Current Price Market Value Assets
COMMON SHARES
SHEP TECHNOLOGY INC 25,000 Segregated 1.010 25,250.00 73
Market Value of COMMON SHARES ‘ 25,250.00 7.3

CONFIDENTIAL PURSUANT
TO SECTION 24 (d)

0603

Page 1
E&OE COUT 254

SEC046177
Case 1:07-cv-11387-DLC-DCF Document 233-7

 

HAYWOOD

dtr ve ess
SECURITIES INC.

Suite 2000 - Commerce Place, 400 Burrard Street,
Vancouver, B.C. V6C 3A6

Ph: (604) 697-7100, Fax: (604) 697-7499

Toll Free: 1-800-663-9499

Filed 01/14/11 Page 12 of 42

Member

Member:

Canadian Venture Exchange

Toronto Stock Exchange

Investment Dealers Association of Canada

(LY TRUST

 

 

 

 

 

 

 

Statement for the period ending November 30, 2002 CURTIS F,
US DOLLAR CA -0902-U
| SECURITIES SUMMARY Continued
Securities Estimated % of
Quantity Location Current Price Market Value Assets
MONEY MARKET
CDA T BILL USD 31JAN2003 320,700 Segregated 99.770 319,962.39 92.7
Market Value of MONEY MARKET 319,962.39 92.7
| ACCOUNT ACTIVITY
Settlement , ,
Date Activity Type Quantity Description Price Amount
11/01 Opening Balance $ 324,336.80 CR
11/05 Buy 320,700 CDA T BILL USD 31JAN2003 99.668 319,635.27 DR 3 —
11/07 Buy 700 SHEP TECHNOLOGY INC 92 660.44 DR
11/08 Buy 4,300 SHEP TECHNOLOGY INC 92 4,005.56 DR
11/21 Mihly Interest INTEREST TO 11/21 42.35 CR
11/80 Closing Balance $ 7788 CR
SUMMARY OF INCOME AND EXPENSES |
Month Year to Date
Income Expense Expense
ACCRUED INTEREST nil nil 1,482.44 nil
INTEREST 42.35 nil 178.16 8.31

Terms, conditions & other information:

® This is a statement of your account according to our records. If it is not in accordance with yours, please contact us immediately. Regardless,
we ask that you notify us of any discrepancies, in writing, within 45 days of the date on this statement. Statements will be considered accurate and
complete if not objected to by such date. We reserve the right to adjust this statement for errors and omissions.

® The prices shown on this statement, used for the purpose of displaying market values, while obtained from sources believed to be reliable,
cannot be guaranteed as to their accuracy. In any event, market values are shown as “estimated”. if "N/A" appears in connection with any specific
security, either there is no price or we were unable to obtain a reliable one.

® We anticipate prompt settlement of cash balances due to us.

© Credit balances are payable on request, upon receipt by us of securities in “good delivery" form that may be owed by you.

® Any free credit balances, with the exception of balances held for registered plans, represent funds payable on demand, which

although properly recorded in our books, are not segregated and may be used in the conduct of our business.

@ Please refer to your account number on all correspondence.
* Astatement of financial condition and a list of shareholders, directors and senior officers of our firm are available on request.

E&OE OOJT 255

CONFIDENTIAL PURSUANT

TO SECTION 24 (d)

0604

Page 2

SEC046178
" Case 1:07-cv-11387-DLC-DCF Document 233-7 Filed 01/14/11 Page 13 of 42

EB . Member
CAPITAL a a MARKETS .
Suite 2000 - Commerce Place, 400 Burrard Street, Member:
H AY W 0 0 D Vancouver, B.C. V6C 3A6 Canadian Venture Exchange
re Ph: (604) 697-7100, Fax: (604) 697-7499 Toronto Stock Exchange
SECURITIES INC. Toll Free: 1-800-663-9499 Investment Dealers Association of Canada
Statement for the period ending November 30, 2002 CURTIS FAYILY TRUST
US DOLLAR CAS; }902-U

Terms, conditions & other information: (Continued)

Our clients in British Columbia are entitled to certain information about us, including information about commissions and fees, and about any
administrative proceedings that may relate tothe firm orourstaff. Ifyou have any questions, please contact yourinvestmentadvisor, Chartes Dunlap - Chief
Financial Officer, or Robert Blanchard, Chief Operating Officer.

Customers’ accounts are protected by the Canadian Investor Protection Fund within specified limits. A brochure describing the nature and
limits of coverage is available upon request.

Securities transactions, as shown on this statement are disclosed to Revenue Canada Taxation on a yearly basis. The income or capital gain
from these transactions must be reported on your annual income tax return. Please keep this statement for income tax purposes, as no other form
will be provided in respect of these transactions.

Current Price is reported consistent with the currency of your account i.e. a Canadian funds account will show all holdings as a Canadian
value and,conversely, the price of ail securities in a U.S. funds account will be U.S.,regardless of the market on which the securities trade.

The following abbreviated codes will be used to describe securities held in an account as applicable; NVS - Non-voting shares, SVS -
Subordinated voting shares, RVS - Restricted voting shares, RS - Restricted shares.

LEVERAGE DISCLOSURE STATEMENT: Using borrowed money to finance the purchase of securities involves greater risk than a purchase—
using cash resources only. if you borrow money to purchase securities, your responsibility to repay the loan and pay interest as required by its terms
remains the same even if the value of the securities purchased declines.

CONFIDENTIAL PURSUANT
- TO SECTION 24 (d)

0605

Page 3
E&OE OOJT 256

SEC046179
Case 1:07-cv-11387-DLC-DCF Document 233-7 Filed 01/14/11 Page 14 of

 
   

ye Member
CAPITAL & MARKETS
he
“Suite 2000 - Commerce Place, 400 Burrard Street, Member:
H A Y W 0 Vancouver, B.C. V6C 3A6 Canadian Venture Exchange
Ph: (604) 697-7100, Fax: (604) 697-7499 Toronto Stock Exchange .
SECURITIES ING toy Free: 1-800-663-9499 Investment Dealers Association of Canada

 

Statement of Account

CANADIAN DOLLAR CASH -0902-C
For the period ending December 31, 2002
Previous Statement November 30, 2002

 

 

 

 

 

 

 

 

 

CURTIS FAMILY TRUST
: For additional Service, contact:
VANCOUVER BC V6M 1k9 HAROLD HODGSON
invesiment Advisor
[ ACCOUNT SUMMARY
Estimated
Current Value % of Assets
CASH ON DEPOSIT 0.00 0.0
COMMON SHARES 4,800.00 100.0
———______... — —
Total Assets $4,800.00 100.0
[ _CASH SUMMARY |
Opening Cash Amount $0.00
No Cash Transactions This Month
| SECURITIES SUMMARY
Securities Estimated % of
Quantity Location Current Price Market Value Assats
COMMON SHARES
VERB EXCHANGE INC 20,000 Segregated 240 4,800.00 100.0
Market Value of COMMON SHARES 4,800.00 100.0
L_ ACCOUNT ACTIVITY
Settlement
Date Activity Type Quantity Description Price Amount
No Transactions This Month
: CONFIDENTIAL PuRsy
TO SECTION 24 ay
0606
Page 1

E&OE 0oJT 686
Case 1:07-cv-11387-DLC-DCF Document 233-7 Filed 01/14/11 Page 15 of 42

aly Member
CAPITAL Y Na MARKETS ta

Suite 2000 - Commerce Place, 400 Burrard Street, Member:
H AY W 0 0 D Vancouver, B.C. V6C 3A6 Canadian Venture Exchange
Fecal nla Ph: (604) 697-7100, Fax: (604) 697-7499 Toronto Stock Exchange
SECURBRITLES INC. Toll Free: 1-800-663-9499 Investment Dealers Association of Canada
Statement for the period ending December 31, 2002 ' CURTIS FAMILYTRUST -

CANADIAN DOLLAR CaS -0902-c
SEASONS GREETINGS TO YOU AND YOUR FAMILIES. -

ONLINE ACCESS TO YOUR ACCOUNTS IS NOW AVAILABLE,
LOG ON TO WWW.HAYWOOD.COM FOR FURTHER. DETAILS

Terms, conditions & other information:

@ This is a statement of your account according to our records. If it is not in accordance with yours, please contact us immediately. Regardless,
we ask that you notify us of any discrepancies, in writing, within 45 days of the date on this statement. Statements will be considered accurate and
complete If not objected to by such date. We reserve the right to adjust this statement for errors and omissions.

® The prices shown on this statement, used for the purpose of displaying market values, while obtained from sources believed to be reliable,
cannot be guaranteed as to their accuracy. In any event, market values are shown as “estimated”. If "N/A" appears in connection with any specific
security, either there is no price or we were unable to obtain a reliable one.

© We anticipate prompt settlement of cash balances due to us.

® Credit balances are payable on request, upon receipt by us of securities in "good delivery” form that may be owed by you.

® Any free credit balances, with the exception of balances held for registered plans, represent funds payable on demand, which
although properly recorded in our books, are not segregated and may be used in the conduct of our business. _

® Please refer to your account number on all correspondence.

® A statement of financial condition and a list of shareholders, directors and senior officers of our firm are available on request.

© Our cllents in British Columbia are entitled to certain information about us, including information about commissions and fees, and about any
administrative proceedings that may relate tothe firmorourstaff. Ifyou have any questions, please contact yourinvestmentadvisor, Charles Dunlap - Chief
Financial Officer, or Robert Blanchard, Chief Operating Officer.

® Customers’ accounts are protected by the Canadian Investor Protection Fund within specified limits. A brochure describing the nature and
limits of coverage is available upon request.

© Securities transactions, as shown on this statement are disclosed to Revenue Canada Taxation on a yearly basis. The income or capital gain
from these transactions must be reported on your annual income tax return. Please keep this statement for income tax purposes, as no other form
will be provided in respect of these transactions.

® Current Price is reported consistent with the currency of your account i.e. a Canadian funds account will show all holdings as a Canadian
value and,conversely, the price of all securities in a U.S. funds account will be U.S.,regardless of the market on which the securities trade.

® The following abbreviated codes will be used to describe securities held in an account as applicable; NVS ~ Non-voting shares, SVS —
Subordinated voting shares, RVS - Restricted voting shares, RS - Restricted shares.

© LEVERAGE DISCLOSURE STATEMENT: Using borrowed money to finance the purchase of securities involves greater risk than a purchase
using cash resources only. If you borrow money to purchase securities, your responsibility to repay the loan and pay interest as required by its terms
remains the same even if the value of the securities purchased declines.

- CONFIDENTIAL PURSUANT
TO SECTION 24 (d)

0607

Page2
E&OE 00JT 687

SEC046181
Case 1:07-cv-11387-DLC-DCE Document 233-7 _

 

CAPITAL DURE MARKETS

HAYWOOD

Serene ne
SECURITIES INC,

CURTIS FAMILY TRUST

Suite 2000 - Commerce Place, 400 Burrard Street,
Vancouver, B.C. V6C 3A6

Ph: (604) 697-7100, Fax: (604) 697-7499

Toll Free: 1-800-663-9499

Filed 01/14/11 Page 16 of 42

Member

Member:

Canadian Venture Exchange

Toronto Stock Exchange

Investment Dealers Association of Canada

Statement of Account

US DOLLAR CASH 40902-U
For the period ending December 31, 2002

Pravious Statement November 30, 2002

For additional service, contact:

 

 

 

 

 

 

 

 

 

 

 

VANCOUVER BC V6M 1K9 HAROLD HODGSON
investment Advisor
ACCOUNT SUMMARY
Estimated
Current Value % of Assets
CASH ON DEPOSIT 77.88 0.0
COMMON SHARES 27,500.00 7.9
MONEY MARKET $20,347.23 92.1 ~
Total Assets $347,925.11 100.0
CASH SUMMARY |
Opening Cash Amount $ 7788CR
No Cash Transactions This Month
| SECURITIES SUMMARY
. Securities Estimated % of
Quantity Location Current Price Market Value Assets
COMMON SHARES
SHEP TECHNOLOGY INC 25,000 Segregated 1.100 27,500.00 79
Market Value of COMMON SHARES 27,500.00 7.9
MONEY MARKET
CDA T BILL USD 31JAN2003 320,700 Segregated 99.890 320,347.23 92.1
Market Value of MONEY MARKET 320,347.23 92.1
L ACCOUNT ACTIVITY |
Settlement
Date Activity Type Quantity Description Price Amount
No Transactions This Month
Page 1
E&OE OOJT 688 CONFIDENTIAL PURSUANT
TO SECTION 24 (d)

0608
SEC046182
Case 1:07-cv-11387-DLC-DCF Document 233-7 Filed 01/14/11 Page 17 of 42

st Member
CAPITAL « oy MARKETS Tih

 

 

Suite 2000 - Commerce Place, 400 Burrard Street, Member:

si AY W OQ 0 D Vancouver, B.C. V6C 346 Canadian Venture Exchange

ee nner neem Ph: (604) 697-7100, Fax: (604) 697-7499 Toronto Stock Exchange

SECURITIES INC, Toll Free: 1-800-663-9499 Investment Dealers Association of Canada
Statement for the period ending December 31, 2002 CURTIS FAMILY TRUST

US DOLLAR CASH9EP0902-U
| SUMMARY OF INCOME AND EXPENSES
Month Year to Date
income Expense income Expense

ACCRUED INTEREST nil nil 1,432.44 nil
INTEREST nil nil 178.16 8.31

SEASONS GREETINGS TO YOU AND YOUR FAMILIES.
ONLINE ACCESS TO YOUR ACCOUNTS IS NOW AVAILABLE,
LOG ON TO WWW.HAYWOOD.COM FOR FURTHER DETAILS

Terms, conditions & other information:

® This is a statement of your account according to our records. If it is not in accordance with yours, please contact us immediately. Regardless,
we ask that you notify us of any discrepancies, in writing, within 45 days of the date on this statement. Statements will be considered accurate and
complete if not objected to by such date. We reserve the right to adjust this statement for errors and omissions.

® The prices shown on this statement, used for the purpose of displaying market values, while obtained from sources believed tobe reliable,
cannot be guaranteed as to their accuracy. in any event, market values are shown as “estimated”. If "N/A" appears in connection with any specific
security, either there is no price or we were unable to obtain a reliable one.

® Woe anticipate prompt settlement of cash balances due to us.

© Credit balances are payable on request, upon receipt by us of securities in "good delivery” form that may be owed by you.

® Any free credit balances, with the exception of balances held for registered plans, represent funds payable on demand, which
although properly recorded in our books, are not segregated and may be used in the conduct of our business.

® Please refer to your account number on all correspondence.

® Astatement of financial condition and a list of shareholders, directors and senior officers of our firm are available on request.

® Our clients in British Columbia are entitled to certain information about us, including information about commissions and fees, and about any
administrative proceedings thatmay relate tothe firm orourstaff. Ifyou have any questions, please contact yourinvestmentadvisor, Charles Dunlap ~ Chief
Financial Officer, or Robert Blanchard, Chief Operating Officer.

® Customers’ accounts are protected by the Canadian investor Protection Fund within specified limits. A brochure describing the nature and
limits of coverage is available upon request.

® Securities transactions, as shown on this statement are disclosed to Revenue Canada Taxation on a yearly basis. The income or capital gain
from these transactions must be reported on your annual income tax return. Please keep this statement for income tax purposes, as no other form
will be provided in respect of these transactions.

© Current Price is reported consistent with the currency of your account i.e. a Canadian funds account will show all holdings as a Canadian
value and,conversely, the price of all securities in a U.S. funds account will be U.S.,regardless of the market on which the securities trade.

® The following abbreviated codes will be used to describe securities held in an account as applicable; NVS - Non-voting shares, SVS —
Subordinated voting shares, RVS ~ Restricted voting shares, RS ~ Restricted shares.

® LEVERAGE DISCLOSURE STATEMENT: Using borrowed money to finance the purchase of securities involves greater risk than a purchase
using cash resources only. If you borrow money to purchase securities, your responsibility to repay the loan and pay interest as required by its terms
remains the same even if the value of the securities purchased declines.

Page 2
E&OE OOJT 689 CONFIDENTIAL PURSUANT
TO SECTION 24 (d)

0609
SEC046183
Case 1:07-cv-11387-DLC-DCF Document 233-7 Filed 01/14/11 Page 18 of 42

 

 

 

 

 

 

 

 

 

 

 

cP Member
CAPITAL doy MARKETS
Suite 2000 - Commerce Place, 400 Burrard Street, Member:
H AY W 0 0 D Vancouver, B.C. V6C 3A6 Canadian Venture Exchange
en nner Ph: (604) 697-7100, Fax: (604) 697-7499 ‘Toronto Stock Exchange .
SECURITIES INE. Toll Free: 1-800-663-9499 Investment Dealers Association of Canada
Statement of Account
CANADIAN DOLLAR CASH 202-0
For the period ending 31, 2003
Previous Statement December 31, 2002
CURTIS FAMILY TRUST ;
For additional service, contact:
VANCOUVER BC V6M 1K9 HAROLD HODGSON
Investment Advisor —
ACCOUNT SUMMARY |
Estimated
Current Value % of Assets
CASH ON DEPOSIT 0.00 0.0
COMMON SHARES 3,200.00 100.0
Total Assets $3,200.00 100.0
CASH SUMMARY |
Opening Cash Amount $0.00
No Cash Transactions This Month
SECURITIES SUMMARY
Securities Estimated % of
Quantity Location Current Price Market Value Assets
COMMON SHARES
VERB EXCHANGE INC 20,000 Segregated -160 3,200.00 100.0
Market Value of COMMON SHARES 3,200.00 100.0
L ACCOUNT ACTIVITY
Settlement
Date Activity Type Quantity Description Price Amount
01/01 Opening Balance $0.00
0147 Received 30,000 INSIDE HOLDINGS INC
01/20 Safekeeping Transfer 30,000 INSIDE HOLDINGS INC
01/20 Security Exchange ~ 30,000 INSIDE HOLDINGS ING
01/20 Security Exchange 30,000 SHEP TECHNOLOGY INC
01/21 Inter Account Transfer ~ 30,000 SHEP TECHNOLOGY INC
01/31 Closing Balance , $0.00

Page 1
E&OE 00JT 257 CONFIDENTIAL PURSUANT
TO SECTION 24 (d)

0610
SEC046184
Case 1:07-cv-11387-DLC-DCF Document 233-7 Filed 01/14/11 Page 19 of 42

, Member
CAPITAL Wy MARKETS
ae on

Suite 2000 - Commerce Place, 400 Burrard Street, Member:
H AY W 0 0 D Vancouver, B.C. V6C 3A6 Canadian Venture Exchange
ae 4 fT Ph: (604) 697-7100, Fax: (604) 697-7499 Toronto Stock Exchange
SECURITIES INC. Toll Free: 1-800-663-9499 Investment Dealers Association of Canada
Statement for the period ending January 31, 2003 CURTIS FAMILY TRUST -
CANADIAN DOLLAR CAS 02-C

Terms, conditions & other information: :

a

® This is a statement of your account according to our records. If it is not in accordance with yours, please contact us immediately. Regardless,
we ask that you notify us of any discrepancies, in writing, within 45 days of the date on this statement. Statements will be considered accurate and
complete if not objected to by such date. We reserve the right to adjust this statement for errors and omissions.

© The prices shown on this statement, used for the purpose of displaying market values, while obtained from sources believed to be reliable,
cannot be guaranteed as to their accuracy. In any event, market values are shown as “estimated”. If "N/A" appears in connection with any specific
security, either there is no price or we were unable to obtain a reliable one.

® We anticipate prompt settlement of cash balances due to us.

Credit balances are payable on request, upon receipt by us of securities in “good delivery" form that may be owed by you.

© Any free credit balances, with the exception of balances held for registered plans, represent funds payable on demand, which
although properly recorded in our books, are not segregated and may be used in the conduct of our business.

® Please refer to your account number on all correspondence.

Astatement of financial condition and a list of shareholders, directors and senior officers of our firm are available on request.

® Our clients In British Columbia are entitled to certain information about us, including information about commissions and fees, and about any
administrative proceedings that may relate to the firm or our staff. Ifyouhaveany questions, please contact yourinvestmentadvisor, Charles Dunlap - Chief
Financial Officer, or Robert Blanchard, Chief Operating Officer.

limits of coverage is available upon request. ;

® Securities transactions, as shown on this statement are disclosed to Revenue Canada Taxation on a yearly basis. The income or capital gain
from these transactions must be reported on your annua! income tax return. Please keep this statement for income tax purposes, as no other form
will be provided in respect of these transactions.

® Current Price is reported consistent with the currency of your account i.e. a Canadian funds account will show all holdings as a Canadian

value and,conversely, the price of all securities in a U.S. funds account will be U.S.,regardless of the market on which the securities trade.

® The following abbreviated codes will be used to describe securities held in an account as applicable; NVS - Non-voting shares, SVS -
Subordinated voting shares, RVS ~ Restricted voting shares, RS - Restricted shares.

® LEVERAGE DISCLOSURE STATEMENT: Using borrowed money to finance the purchase of securities involves greater risk than a purchase
using cash resources only. if you borrow money to purchase securities, your responsibility to repay the loan and pay interest as required by its terms
remains the same even if the value of the securities purchased declines.

Customers’ accounts are protected by the Canadian Investor Protection Fund within specified limits. A brochure describing the nature and__

Page 2
E&OE OOUT 258
CONFIDENTIAL PURSUANT
TO SECTION 24 (d)
0611

SEC046185
Case 1:07-cv-11387-DLC-DCF Document 233-7

CAPITAL -2NE MARKETS

HAYWOOD

aA eae
SECURITIES INE

  

Toll Free: 1-800-663-9499

Filed 01/14/11 Page 20 of 42

Member
Suite 2000 - Commerce Place, 400 Burrard Street, Member:
Vancouver, B.C, V6C 3A6 Canadian Venture Exchange
Ph: (604) 697-7100, Fax: (604) 697-7499 Toronto Stock Exchange

Investment Dealers Association of Canada

Statement of Account

US DOLLAR CASH 48@@™0902-U
For the period ending January 31, 2003
Previous Statement December 31, 2002

 

 

 

 

 

 

 

 

 

 

CURTIS FAMILY TRUST
qa: For additional service, contact:
VANCOUVER BC V6M 1K9 HAROLD HODGSON
. Investment Advisor
| ACCOUNT SUMMARY
Estimated
Current Value % of Assets
CASH ON DEPOSIT 347,220.48 84.7
COMMON SHARES 62,700.00 15.3
Total Assets $409,920.48 , 100.0
L CASH SUMMARY
Opening Cash Amount $ 77.88CR
Deductions Additions
SECURITIES SOLD 0.00 347,142.60
Totais $ 0.00 $ 347,142.60
Net Changes This Period $47,142.60CR
Closing Cash Amount $ 347,220.48CR
SECURITIES SUMMARY
Securities Estimated % of
Quantity Location Current Price Market Value Assets
COMMON SHARES ©
SHEP TECHNOLOGY INC 38,000 Segregated 1.650 62,700.00 100.0
Market Vatue of COMMON SHARES 62,700.00 100.0
Page 1
E
&OE OOJUT 259 CONFIDENTIAL PURSUANT
TO SECTION 24 (d)
0612

SEC046186
Case 1:07-cv-11387-DLC-DCF Document 233-7 Filed 01/14/11 Page 21 of 42

   
  

 

 

wv. Member
CAPITAL -¢; ay MARKETS
Nd
Suite 2000 - Commerce Place, 400 Burrard Street, Member:
H AY W 0 0 D Vancouver, B.C. V6C 3A6 Canadian Venture Exchange
Ass 4 YS Ph: (604) 697-7100, Fax: (604) 697-7499 Toronto Stock Exchange
SECURITLES INC. Toll Free: 1-800-663-9499 Investment Dealers Association of Canada
Statement for the period ending January 31, 2003 CURTIS FAMILY TRUST
US DOLLAR CASHAIDR0902-U
[| ACCOUNT ACTIVITY |
Settlement
' Date Activity Type Quantity Description Price __ Amount
01/01 Opening Balance $ 77.88 CR
01/09 Sell ~ 2,000 SHEP TECHNOLOGY INC 1.20 2,366.00 CR
or/2t inter Account Transfer 30,000 SHEP TECHNOLOGY INC
01/23 Sell ~ 8,500 SHEP TECHNOLOGY INC 1.64
01/23 - 500 SHEP TECHNOLOGY INC 1.60 - 14,582.60 CR
01/24 Sell ~- 6,000 SHEP TECHNOLOGY INC 1.60 9,494.00 CR
01/31 Sell ~ 320,700 CDA T BILL USD 31JAN2003 100.00 320,700.00 CR
01/31 Closing Balance. : $ 347,220.48 CR
Transactions to Seitle After 01/31/03
02/05 Sell - 700 SHEP TECHNOLOGY INC 1.58
02/05 - 1,300 SHEP TECHNOLOGY INC 1.59 3,131.27 CR —
02/05 / Total $ 350,351.75 CR

Terms, conditions & other information:

® This is a statement of your account according to our records. If it is not in accordance with yours, please contact us immediately. Regardless,
we ask that you notify us of any discrepancies, in writing, within 45 days of the date on this statement. Statements will be considered accurate and
complete if not objected to by such date. We reserve the right to adjust this statement for errors and omissions.

© The prices shown on this statement, used for the purpose of displaying market values, while obtained from sources believed to be reliable,
cannot be guaranteed as to their accuracy. In any event, market values are shown as “estimated”. If "N/A" appears in connection with any specific
security, either there is no price or we were unable to obtain a reliable one.

® We anticipate prompt settlement of cash balances due to us.

® Credit balances are payable on request, upon receipt by us of securities in “good delivery" form that may be owed by you. /

® Any free credit balances, with the exception of balances held for registered plans, represent funds payable on demand, which
although properly recorded in our books, are not segregated and may be used in the conduct of our business.

® Please refer to your account number on all correspondence.

® Astatement of financial condition and a list of shareholders, directors and senior officers of our firm are available on request.

® Our clients in British Columbia are entitled to certain information about us, including information about commissions and fees, and about any
administrative proceedings that may relate tothe firmorourstaft. Ifyou haveany questions, please contact yourinvestmentadvisor, CharlesDunlap -Chief
Financial Officer, or Robert Blanchard, Chief Operating Officer.

© Customers’ accounts are protected by the Canadian Investor Protection Fund within specified limits. A brochure describing the nature and
limits of coverage is available upon request.

© Securities transactions, as shown on this statement are disclosed to Revenue Canada Taxation on a yearly basis. The Income or capital gain
from these transactions must be reported on your annual income tax return. Please keep this statement for income tax purposes, as no other form
will be provided in respect of these transactions.

© Current Price is reported consistent with the currency of your account i.e. a Canadian funds account will show all holdings as a Canadian

value and,conversely, the price of all securities in a U.S. funds account will be U.S.,regardless of the market on which the securities trade.

The following abbreviated codes will be used to describe securities held in an account as applicable; NVS - Non-voting shares, SVS -

Subordinated voting shares, RVS — Restricted voting shares, RS - Restricted shares.

LEVERAGE DISCLOSURE STATEMENT: Using borrowed money to finance the purchase of securities involves greater risk than a purchase

using cash resources only. If you borrow money to purchase securities, your responsibility to repay the loan and pay interest as required by its terms

remains the same even if the vaiue of the securities purchased declines.

Page 2

E&OE O0UT 260 CONFIDENT!
AL PURSUA
TO SECTION 24 (d) NT

0613
SEC046187
Case 1:07-cv-11387-DLC-DCF Document 233-7

 

Filed 01/14/11 Page 22 of 42

 

 

 

 

 

 

 

 

oy. Member
CAPITAL =~ ; MARKETS
Suite 2000 - Commerce Place, 400 Burrard Street, Member:
H AY W 0 0 D Vancouver, B.C. V6C 3A6 . Canadian Venture Exchange
Bets + Ph: (604) 697-7100, Fax: (604) 697-7499 Toronto Stock Exchange
SECURITIES INC: Toll Free: 1-800-663-9499 Investment Dealers Association of Canada
Statement of Account
US DOLLAR CASH @m@mw0902-U .
For the period ending February 28, 2003
Previous Statement January 31, 2003
CURTIS FAMILY TRUST
For additional service, contact:
VANCOUVER BC V6M 1K9 HAROLD HODGSON
investment Advisor
ACCOUNT SUMMARY
Estimated
Current Value % of Assets
CASH ON DEPOSIT 60,298.37 14.7
COMMON SHARES 27,900.00 6.8
MONEY MARKET 320,892.48 78.4 i
Total Assets $409,090.85 100.0
CASH SUMMARY
Opening Cash Amount $ 347,220.48CR
Deductions Additions
SECURITIES PURCHASED 320,689.87 “9,00
INVESTMENT INCOME/EXPENSE 0.00 40.15
SECURITIES SOLD 0.00 33,727.61
Totals $ 320,689.87 $ 33,767.76
Net Changes This Period 286,922.11DR
Closing Cash Amount $ 60,298.37CR
L SECURITIES SUMMARY
Securities Estimated % of
Quantity Location Current Price Market Value Assets
COMMON SHARES
Paget
E&OE O0UT 241
CONFIDENTIAL PURSUANT
TO SECTION 24 (d)
0614

SEC046188
‘Case 1:07-cv-11387-DLC-DCF Document 233-7 Filed 01/14/11 Page 23 of 42

 

CAPITAL 4 MARKETS

HAYWOOD

SECURITIES UNC.

Suite 2000 - Commerce Place, 400 Burrard Street,
Vancouver, B.C. V6C 3A6

Ph: (604) 697-7100, Pax: (604) 697-7499

Toll Free: [-800-663-9499

Member

Member:

Canadian Venture Exchange

Toronto Stock Exchange

Investment Dealers Association of Canada

 

 

 

 

 

 

 

 

Statement for the period ending February 28, 2003 CURTIS FAMILY TRUST
US DOLLAR CASH Mos
[| SECURITIES SUMMARY Continued |
, Securities Estimated % of
Quantity Location Current Price Market Value Assets
SHEP TECHNOLOGY ING 18,000 Segregated 1.550 27,900.00 8.0
Market Vaiue of COMMON SHARES 27,900.00 8.0
MONEY MARKET
RYL BK B/A USD 30APR2003 321,600 Segregated 99.780 320,892.48 92.0
Market Vatue of MONEY MARKET 320,892.48 92.0
ACCOUNT ACTIVITY
Setilement _
Date Activity Type Quantity Description Price Amount
02/01 Opening Balance $ 347,220.48 CR
02/03 Buy 321,600 RYL BK B/A USD 30APR2003 99.717 320,689.87 DR
02/05 Sell - 700 SHEP TECHNOLOGY INC 1.58
02/05 ~ 1,300 SHEP TECHNOLOGY INC 1.59 3,131.27 CR
02/07 Sell ~ 4,000 SHEP TECHNOLOGY INC 1.63 6,444.80 CR
o2/l2 Sell - 3,000 SHEP TECHNOLOGY ING 1.74 5,157.80 CR
02/13 Sell — 1,800 SHEP TECHNOLOGY INC 1.80 3,197.60 CR
02/14 Sell - 1,200 SHEP TECHNOLOGY INC 1.78 2,104.64 CR
02/21 Mthly Interest INTEREST TO 02/21 40.15 CR
02/24 Sell - 3,000 SHEP TECHNOLOGY INC 1.70 5,039.00 CR
02/26 Sell - §,000 SHEP TECHNOLOGY INC 1.75 8,652.50 CR
02/28 Closing Balance $ 60,298.37 CR
SUMMARY OF INCOME AND EXPENSES
Month Year to Date
Income Expense Income Expense
INTEREST 40.15 nil 40.15 nil

Terms, conditions & other Information:

® This is a statement of your account according to our records. If it is not in accordance with yours, please contact us immediately. Regardless,
we ask that you notify us of any discrepancies, in writing, within 45 days of the date on this statement. Statements will be considered accurate and
complete if not objected to by such date. We reserve the right to adjust this statement for errors and omissions.

E&OE O0JT 242

Page 2

CONFIDENTIAL PURSUANT
TO SECTION 24 (d)

0615
-SEC046189
Case 1:07-cv-11387-DLC-DCF Document 233-7 Filed 01/14/11 Page 24 of 42

 

ay Member
CAPITAL » S MARKETS
V J Suite 2000 - Commerce Place, 400 Burrard Street, Membez:
H AY 0 (0) D Vancouver, B.C. V6C 3A6 Canadian Venture Exchange
ae AS SL Ph; (604) 697-7100, Fax: (604) 697-7499 Toronto Stock Exchange
SECURETLES INC. ‘Toll Free: 1-800-663-9499 Investment Dealers Association of Canada
. Statement for the period ending February 28, 2003 CURTIS FAMILY TRUST
US DOLLAR CASH @ii-0902-U

Terms, conditions & other Information: (Continued)

® ‘The prices shown on this statement, used for the purpose of displaying market values, while obtained from sources believed to be reliable,
cannot be guaranteed as to their accuracy. In any event, market values are shown as "estimated". {f "N/A" appears in connection with any specific
security, either there is no price or we were unable to obtain a reliable one.

© We anticipate prompt settlement of cash balances due to us.

Credit balances are payable on request, upon receipt by us of securities in “good delivery" form that may be owed by you.

® Any free credit balances, with the exception of balances held for registered plans, represent funds payable on demand, which
although properly recorded in our books, are not segregated and may be used in the conduct of our business.

© Please refer to your account number on all correspondence.

A statement of financial condition and a list of shareholders, directors and senior officers of our firm are available on request.

® Our clients in British Columbia are entitled to certain information about us, including information about commissions and fees, and about any
administrative proceedings that may relate tothe firm orourstaff. Ifyou have any questions, pleasecontact yourinvestmentadvisor, CharlesDunlap—Chief
Financial Officer, or Robert Blanchard, Chiaf Operating Officer. .

® Customers’ accounts are protected by the Canadian Investor Protection Fund within specified limits. A brochure describing the nature and_
limits of coverage is available upon request.

® Securities transactions, as shown on this statement are disclosed to Revenue Canada Taxation on a yearly basis. The income or capital gain
from these transactions must be reported on your annual income tax return. Please keep this statement for income tax purposes, as no other fo
will be provided in respect of these transactions. :

® Current Price is reported consistent with the currency of your account i.e. a Canadian funds account will show all holdings as a Canadian
value and,conversely, the price of all securities in a U.S. funds account will be U.S.,regardless of the market on which the securities trade.

* The following abbreviated codes will be used to describe securities held in an account as applicable; NVS ~ Non-voting shares, SVS -
Subordinated voting shares, RVS — Restricted voting shares, RS — Restricted shares. /

® LEVERAGE DISCLOSURE STATEMENT: Using borrowed money to finance the purchase of securities involves greater risk than a purchase
using cash resources only. If you borrow money to purchase securities, your responsibility to repay the loan and pay interest as required by its terms
remains the same even if the value of the securities purchased declines.

Page 3

E&OE OOJT 243
CONFIDENTIAL PURSUANT

TO SECTION 24 (d)

0616
SEC046190
Case 1:07-cv-11387-DLC-DCF Document 233-7 Filed 01/14/11 Page 25 of 42

F Member
CAPITAL wy fab, MARKETS
Suite 2000 - Commerce Place, 400 Burrard Street, Member:
H AY W 0 0 D Vancouver, B.C. V6C 3A6 TSX Venture Exchange
ne Ph: (604) 697-7100, Fax: (604) 697-7499 Toronto Stock Exchange
SECURITIES INC. Toll Free: 1-800-663-9499 Investment Dealers Association of Canada

Statement of Account

CANADIAN DOLLAR CASH 902-C -
For the period ending March 31, 2003
Previous Statement January 31, 2003

 

 

 

 

 

 

 

 

 

CURTIS FAMILY TRUST ,
ee For additional service, contact:
VANCOUVER BC V6M 1K9 HAROLD HODGSON
investment Advisor
ACCOUNT SUMMARY
Estimated
Current Value % of. Assets
CASH ON DEPOSIT 0.00 0.0
COMMON SHARES 3,400.00 100.0 _
Total Assets $3,400.00 100.0
[| CASH SUMMARY
Opening Cash Amount $0.00
No Cash Transactions This Month
| SECURITIES SUMMARY
Securities . Estimated % of
Quantity Location Current Price Market Value Assets
COMMON SHARES

VERB EXCHANGE INC 20,000 Segregated 170 3,400.00 100.0

Market Value of COMMON SHARES 3,400.00 100.0
| ACCOUNT ACTIVITY

Seitiement
Date Activity Type Quantity Description Price Amount
No Transactions This Month
CONFIDENTIAL PURSUANT
- TO SECTION 24 (d)
0617
Page 1

E&OE OOJT 662

SEC046191
Case 1:07-cv-11387-DLC-DCF Document 233-7 Filed 01/14/11 Page 26 of A2

wW Member
CAPITAL SMR MARKETS Ti

a
Suite 2000 - Commerce Place, 400 Burrard Street, Member:
H AY W 0 0 D Vancouver, B.C. V6C 3A6 TSX Venture Exchange
rr nee Ph: (604) 697-7100, Fax: (604) 697-7499 Toronto Stock Exchange
SECURITIES INE: Toll Free: 1-800-663-9499 Investment Dealers Association of Canada
Statement for the period ending March 31, 2003 : CURTIS F, TRUST
CANADIAN DOLLAR CAS! 1902-C

Terms, conditions & other information:

® This is a statement of your account according to our records. If it is not in accordance with yours, please contact us immediately. Regardless,
we ask that you notify us of any discrepancies, in writing, within 45 days of the date on this statement. Statements will be considered accurate and
complete if not objected to by such date. We reserve the right to adjust this statement for errors and omissions.

® The prices shown on this statement, used for the purpose of displaying market values, while obtained from sources believed to be reliable,
cannot be guaranteed as to their accuracy. In any event, market values are shown as “estimated”. If "N/A" appears in connection with any specific
security, either there is no price or we were unable to obtain a reliable one.

® We anticipate prompt settlement of cash balances due to us.

© Credit balances are payable on request, upon receipt by us of securities in "good delivery” form that may be owed by you.

® Any free credit balances, with the exception of balances held for registered plans, represent funds payable on demand, which
although properly recorded in our books, are not segregated and may be used in the conduct of our business. -

© Please refer to your account number on all correspondence. _

® Astatement of financial condition and a list of shareholders, directors and senior officers of our firm are available on request.

® Our clients in British Columbia are entitled to certain information about us, including information about commissions and fees, and about any
administrative proceedings that may relate tothe firm or ourstaif. Ifyou haveany questions, please contact yourinvestmentadvisor, Charles Dunlap-Chief
Financial Officer, or Robert Blanchard, Chief Operating Officer.

® Customers’ accounts are protected by the Canadian Investor Protection Fund within specified limits. A brochure describing the nature and_
limits of coverage Is available upon request. /

© Securities transactions, as shown on this statement are disclosed to Revenue Canada Taxation on a yearly basis. The income or capital gain
from these transactions must be reported on your annual income tax return. Please keep this statement for income tax purposes, as no other form
will be provided in respect of these transactions. .

® Current Price is reported consistent with the currency of your account ie. a Canadian funds account will show all holdings as a Canadian
value and,conversely, the price of all securities in a U.S. funds account will be U.S.,regardless of the market on which the securities trade.

® The following abbreviated codes will be used to describe securities held in an account as applicable; NVS - Non-voting shares, SVS -
Subordinated voting shares, RVS - Restricted voting shares, RS — Restricted shares.

© LEVERAGE DISCLOSURE STATEMENT: Using borrowed money to finance the purchase of securities involves greater risk than a purchase
using cash resources only. If you borrow money to purchase securities, your responsibility to repay the loan and pay interest as required by its terms
remains the same even if the value of the securities purchased declines.

CONFIDENTIAL PURSUANT
yO TO SECTION 24 (d)

0618

Page 2
E&OE OOJT 663

SEC046192 _
Case 1:07-cv-11387-DLC-DCF Document 233-7

 

caPital Dee

Suite 2000 - Commerce Place, 400 Burrard Street,
H AY W O D Vancouver, B.C. V6C 3A6
nT Ph: (604) 697-7100, Fax: (604) 697-7499

Filed 01/14/11 Page 27 of 42

Member

Member:
TSX Venture Exchange
Toronto Stock Exchange

 

 

 

 

 

 

 

 

SECURITIES INC, Toll Free: 1-800-663-9499 fnvestment Dealers Association of Canada
Statement of Account
US DOLLAR CASH 02-U
For the period ending March 31, 2003
. Previous Statement February 28, 2003.
CURTIS FAMILY TRUST
For additional service, contact:
VANCOUVER BC V6M 1K9 HAROLD HODGSON
invesiment Advisor
[ ACCOUNT SUMMARY ‘|
Estimated
Current Value % of Assets
CASH ON DEPOSIT 73,381.10 18.1
COMMON SHARES 9,760.00 2.4
MONEY MARKET 921,246.24 79.4 ~
Total Assets $404,387.34 100.0
l CASH SUMMARY
Opening Cash Amount $ 60,298.37CR
Deductions Additions
INVESTMENT INCOME/EXPENSE 0.00 34.73
SECURITIES SOLD 0,00 13,048.00
Totals $ 0.00 $ 13,082.73
Net Changes This Period 13,082.73CR
Closing Cash Amount $ 73,381.10CR
[ SECURITIES SUMMARY
Securities Estimated % of
Quantity Location Current Price Market Value Assets
COMMON SHARES
SHEP TECHNOLOGY INC 4,000 Segregated
CONFIDENTIAL PURSUANT
- TO SECTION 24 (d)
0619

E&OE 00JT 664

Page 1

SEC046193
CAPITAL DREEGS MARKETS

HAYWOOD

  

week kh wee
SECURITIES ING

Suite 2000 - Commerce Place, 400 Burrard Street,
Vancouver, B.C. V6C 3A6

Ph: (604) 697-7100, Fax: (604) 697-7499

Toll Free: 1-800-663-9499

Case 1:07-cv-11387-DLC-DCF Document 233-7 Filed 01/14/11 Page 28 of 42

Member

Member:

TSX Venture Exchange

Toronto Stock Exchange

Investment Dealers Association of Canada

 

 

 

 

 

 

 

 

Statement for the period ending March 31, 2003 CURTIS FAMILY TRUST
US DOLLAR CASH @iqgC902-U
SECURITIES SUMMARY Continued
Securities Estimated % of
Quantity Location - Current Price Market Value Assets
4,000 Current 1.220 9,760.00 2.9
Market Value of COMMON SHARES 9,760.00 2.9
MONEY MARKET
RYL BK B/A USD 30APR2003 321,600 Segregated 99,890 321,246.24 97.4
Market Value of MONEY MARKET $21,246.24 97.1
ACCOUNT ACTIVITY |
Settlement _
Date . Activity Type Quantity Description Price Amount
03/01 Opening Balance $ 60,298.37 CR
03/12 Sell ~ 5,000 SHEP TECHNOLOGY INC 1.85 6,672.50 CR
03/21 Mthly Interest INTEREST TO 03/21 34.73 CR
03/25 Sell - 5,000 SHEP TECHNOLOGY INC 1.29 6,375.50 CR
03/31 Closing Balance $ 73,381.10 CR
Transactions to Settle After 03/31/03
04/01 Sell - 4,000 SHEP TECHNOLOGY INC 1.25 4,940.00 CR
04/02 Sell ~ 4,000 SHEP TECHNOLOGY INC 1.30 5,138.00 CR
04/02 Total ' §$ 83,459.10 CR
SUMMARY OF INCOME AND EXPENSES e—
Month Year to Date
Income Expense Income Expense
INTEREST 34,73 nil 74.88 nil

Terms, conditions & other information:

® This is a statement of your account according to our records, If it is not in accordance with yours, please contact us immediately. Regardless,
we ask that you notify us of any discrepancies, in writing, within 45 days of the date on this statement. Statements will be considered accurate and
complete if not objected to by such date. We reserve the right to adjust this statement for errors and omissions.

© The prices shown on this statement, used for the purpose of displaying market values, while obtained from sources believed to be reliable,
cannot be guaranteed as to their accuracy. In any event, market values are shown as “estimated”. If "N/A" appears in connection with any specific
security, either there is no price or we were unable to obtain a reliable one.

CONFIDENTIAL PURSUANT
TO SECTION 24 (d)

0620

Page 2
E&OE 0OJT 665

SEC046194
Case 1:07-cv-11387-DLC-DCF Document 233-7 Filed 01/14/11 Page 29 of 42

 

W. Member
CAPITAL TRGB MARKETS
ae
Suite 2000 - Commerce Place, 400 Burrard Street, Member:
H AY W 0 0 D. Vancouver, B.C. V6C 3A6 TSX Venture Exchange
Ne rarer Ph: (604) 697-7100, Fax: (604) 697-7499 Toronto Stock Exchange
SECURITIES ING Toll Free: 1-800-663-9499 Investment Dealers Association of Canada
Statement for the period ending March 31, 2003 CURTIS FAMILY TRUST
US DOLLAR CASH -0902-U

Terms, conditions & other information: (Continued)

© We anticipate prompt settlement of cash balances due to us.

Credit balances are payable on request, upon receipt by us of securities in “good delivery” form that may be owed by you.

® Any free credit balances, with the exception of balances held for registered plans, represent funds payable on demand, which
although properly recorded in our books, are not segregated and may be used in the conduct of our business.

© Please refer to your account number on all corraspondence.

® Astatement of financial condition and a list of shareholders, directors and senior officers of our firm are available on request.

© Our clients in British Columbia are entitlad to certain information about us, Including information about commissions and fees, and about any

- administrative proceedings that may relatetothe firm orourstaff. Ifyouhaveany questions, please contact yourinvestmentadvisor, Charles Dunlap - Chief

Financial Officer, or Robert Blanchard, Chief Operating Officer.

© Customers’ accounts are protected by the Canadian Investor Protection Fund within specified limits. A brochure describing the nature and
limits of coverage is available upon request.

© Securities transactions, as shown on this statement are disclosed to Revenue Canada Taxation on a yearly basis. The income or capital gain
from these transactions must be reported on your annual income tax return. Please keep this statement for income tax purposes, as no other form_
will be provided in respect of these transactions.

® Current Price is reported consistent with the currency of your account i.e. a Canadian funds account will show all holdings as a Canadian
value and,conversely, the price of all securities in a U.S. funds account will be U.S.,regardless of the market on which the securities trade.

® The following abbreviated codes will be used to describe securities held in an account as applicable; NVS - Non-voting shares, SVS —
Subordinated voting shares, RVS — Restricted voting shares, RS — Restricted shares.

® LEVERAGE DISCLOSURE STATEMENT: Using borrowed money to finance the purchase of securities involves greater risk than a purchase
using cash resources only. If you borrow money to purchase securities, your responsibility to repay the loan and pay interest as required by its terms
remains the same even if the value of the securities purchased declines.

CONFIDENTIAL PURSUANT
TO SECTION 24 (d)

0621

Page 3
E&OE OOJT 666

SEC046195
Case 1:07-cv-11387-DLC-DCF Document 233-7 Filed 01/14/11 Page 30 of 42

HAYWOOD

Suite 2000 - Commerce Place, 400 Burrard Street,
Vancouver, B.C. V6C 3A6
Ph: (604) 697-7100, Fax: (604) 697-7499

Member

Member:
TSX Venture Exchange
Toronto Stock Exchange

 

 

 

 

 

 

 

 

 

SECURITIES INC, Toll Free: 1-800-663-9499 Investment Dealers Association of Canada
Statement of Account
US DOLLAR CASH @@D902-U -
For the period ending April 30, 2003
Pravious Statement March 31, 2003
CURTIS FAMILY TRUST
For additional service, contact:
VANCOUVER BC V6M 1K9 HAROLD HODGSON
investment Advisor
ACCOUNT SUMMARY
Estimated
Current Value % of Assets
CASH ON DEPOSIT 405,142.86 100.0
Total Assets $405,142.86 100.0 _
| CASH SUMMARY
Opening Cash Amount $ 73,381.10CR
Deductions Additions
INVESTMENT INCOME/EXPENSE 0.00 83.76
SECURITIES SOLD 0.00 331,678.00
Totals $ 0.00 $ 331,761.76
Net Changes This Period 331,761:76CR
Closing Cash Amount $ 405,142.86CR
| SECURITIES SUMMARY
Securities Estimated % of
Quantity Location Current Price Market Value Assets
No Positions Currently Held

L ACCOUNT ACTIVITY

Settlement ,

Date Activity Type Quantity Description Price Amount

04/01 Opening Balance $ 73,381.10 CR

04/01 Sell - 4,000 SHEP TECHNOLOGY INC 1.25 4,940.00 CR

04/02 Sell - 4,000 SHEP TECHNOLOGY INC 1.30 5,138.00 CR

04/21 - Mthly Interest INTEREST TO 04/21 83.76 CR

04/30 Sell — 321,600 RYL BK B/A USD 30APR2003 100.00 321,600.00 CR

Page?
£&OE OOJT 280 CONFIDENTIAL PURSUANT
TO SECTION 24 (d)
0622

SEC046196
Case 1:07-cv-11387-DLC-DCF Document 233-7 Filed 01/14/11 Page 31 of 42

 

 

| Member
CAPITAL . S Pai} MARKETS
Suite 2000 - Commerce Place, 400 Burrard Street, Member:
H AY W 0 0 D Vancouver, B.C, V6C 3A6 TSX Venture Exchange
Sn nes nanan Ph; (604) 697-7100, Fax: (604) 697-7499 ’ Toronto Stock Exchange
SECURITIES INC. Toll Free: 1-800-663-9499 Investment Dealers Association of Canada
Statement for the period ending April 30, 2003 CURTIS FAMILY TRUST
US DOLLAR CASHMRIBOS02-U
[ ACCOUNT ACTIVITY Continued |
Seitiament .
Date Activity Type Quantity Description Price Amount
04/30 Closing Balance $ 405,142.86 CR

 

SUMMARY OF INCOME AND EXPENSES

 

Month Year to Date
income Expense Income Expense
INTEREST 83.76 nif 158.64 nil

Terms, conditions & other information:

® This is a statement of your account according to our records. ff it is not in accordance with yours, please contact us immediately. Regardless,
we ask that you notify us of any discrepancies, in writing, within 45 days of the date on this statement. Statements will be considered accurate and
complete if not objected to by such date. We reserve the right to adjust this statement for errors and omissions.

® The prices shown on this statement, used for the purpose of displaying market values, while obtained from sources believed to be reliable,
cannot be guaranteed as to their accuracy. In any event, market values are shown as “estimated”, If "N/A" appears in connection with any specific
security, either there is no price or we were unable to obtain a reliable ona.

© We anticipate prompt settlement of cash balances due to us.

® Credit balances are payable on request, upon receipt by us of securities in "good delivery* form that may be owed by you.

© Any free credit balances, with the exception. of balances held for registered plans, represent funds payable on demand, which
although properly recorded in our books, are not segregated and may be used in the conduct of our business.

® Please refer to your account number on all correspondence.

© Astatement of financial condition and a list of shareholders, directors and senior officers of our firm are available on request.

© Our clients in British Columbia are entitled to certain information about us, including information about commissions and fees, and about any
administrative proceedings thatmay relatetothe firm orourstaff. fyou haveany questions, please contact yourinvestmentadvisor, Charles Dunlap - Chief
Financial Officer, or Robert Blanchard, Chief Operating Officer.

® Customers’ accounts are protected by the Canadian Investor Protection Fund within specified limits. A brochure describing the nature and
limits of coverage is available upon request.

® Securities transactions, as shown on this statement are disclosed to Revenue Canada Taxation on a yearly basis. The income or capital gain
from these transactions must be reported on your annual income tax return. Please keep this statement for income tax purposes, as no other form
will be provided in respect of these transactions.

© Current Price is reported consistent with the currency of your account i.e. a Canadian funds account will show all holdings as a Canadian
value and,conversely, the price of all securities in a U.S. funds account will be U.S. regardless of the market on which the securities trade.

© The following abbreviated codes will be used to describe securities held in an account as applicable; NVS - Non-voting shares, SVS ~-
Subordinated voting shares, RVS — Restricted voting shares, RS — Restricted shares.

® LEVERAGE DISCLOSURE STATEMENT: Using borrowed money to finance the purchase of securities involves greater risk than a purchase
using cash resources only. If you borrow money to purchase securities, your responsibility to repay the loan and pay interest as required by its terms
remains the same even if the value of the securities purchased declines.

CONFIDENTIAL PURSUANT
- TO SECTION 24 (d)

0623

Page 2
E&OE 00JT 281

SEC046197
Case 1:07-cv-11387-DLC-DCF Document 233-7

CAPITAL Eg MARKETS

HAYWOOD

Fassia eenteananei pe enn are
SECURITEILES INC,

 

Suite 2000 - Commerce Place, 400 Burrard Street,
Vancouver, B.C. V6C 3A6

Ph: (604) 697-7100, Fax: (604) 697-7499

Toll Free: 1-800-663-9499

Filed 01/14/11 Page 32 of 42

Member

Member:

TSX Venture Exchange

Toronto Stock Exchange

Investment Dealers Association of Canada

Statement of Account
US DOLLAR CASH iff 902-U

For the perlod ending May 31, 2003

Previous Statement April 30, 2003

 

 

 

 

 

 

 

 

 

CURTIS FAMILY TRUST
For additional service, contact:
VANCOUVER BC V6M 1K9 HAROLD HODGSON
invesiment Advisor
| ACCOUNT SUMMARY |
Estimated
Current Value % of Assets
CASH ON DEPOSIT 10,818.65 2.9
MONEY MARKET 365,317.25 97.1
Total Assets $ 376,135.90 100.0
CASH SUMMARY
Opening Cash Amount $ 405,142.86CR
Deductions Additions
SECURITIES PURCHASED 405,044.32 0.00
INVESTMENT INCOME/EXPENSE 0.00 39.69
CHEQUES ISSUED 40,000.00 10,607.69
SECURITIES SOLD 0.00 40,072.73
Totals $ 445,044.32 $ 50,720.11
Net Changes This Period $94,324.21DR
Closing Cash Amount $ 10,818.65CR
L. SECURITIES SUMMARY
Securities Estimated % of
Quantity Location Current Price Market Value Assats
MONEY MARKET
RYL BK B/A USD 13JUN2003 365,500 Segregated. 99.950 $65,317.25 100.0
. Market Value of MONEY MARKET 365,317.25 100.0
IDENTIAL PURSUANT
~ CONT SECTION 24 (d)
0624
Page f

E&OE ONT 312

SEC046198
Case 1:07-cv-11387-DLC-DCF Document 233-7 Filed 01/14/11 Page 33 of 42

 

 

 

 

 

Member
Suite 2000 - Commerce Place, 400 Burrard Street, Member:
Vancouver, B.C. V6C 3A6 TSX Venture Exchange
ans A SO Ph: (604) 697-7100, Fax: (604) 697-7499 Toronto Stock Exchange
SECURITIES INC. Toll Free: 1-800-663-9499 Investment Dealers Association of Canada
Statement for the period ending May 31, 2003 CURTIS F. TRUST
US DOLLAR CASH -0902-U
[ ACCOUNT ACTIVITY |
Sattioment
Date Activity Type Quantity Description Price Amount
05/01 Opening Balance $ 405,142.86 CR
05/01 Buy 405,600 RYL BK B/A USD 13JUN2003 99.863 405,044.32 DR
05/21 Mthly Interest INTEREST TO 05/21 39.69 CR
05/30 Cheque Issued 078621 ISS: REMAX CREST 40,000.00 DR
RLTY WEST SIDE - P/U
05/30 Cheque Issued 078621 EXCHANGE POSTING 10,607.69 CR
05/30 Seli -40,100 ° RYLBKB/AUSD 13JUN2003 99.932 40,072.73 CR
05/31 Closing Balance $ 10,818.65 CR
| SUMMARY OF INCOME AND EXPENSES |
Month Year to Date
income Expense income Expense
INTEREST : 39.69 nil 198.33 nil

Terms, conditions & other Information:

® This is a statement of your account according to our records. If it Is not in accordance with yours, please contact us immediately. Regardless,
we ask that you notify us of any discrepancies, in writing, within 45 days of the date on this statement. Statements will be considered accurate and
complete if not objected to by such date. We reserve the right to adjust this statement for errors and omissions.

® The prices shown on this staternent, used for the purpose of displaying market values, while obtained from sources believed to be reliable,
cannot be guaranteed as to their accuracy. In any event, market values are shown as “estimated". If "N/A" appears in connection with any specific
security, either there is no price or we were unable to obtain a reliable one.

© We anticipate prompt settlement of cash balances due to us.

© Credit balances are payable on request, upon receipt by us of secutities in "good delivery’ form that may be owed by you.

® Any free credit balances, with the exception of balances held for registered plans, represent funds payable on demand, which
although properly recorded in our books, are not segregated and may be used in the conduct of our business. .

® Please refer to your account number on all correspondence.

© Astatement of financial condition and a list of shareholders, directors and senior officers of our firm are available on request.

© Our clients in British Columbia are entitled to certain information about us, including information about commissions and fees, and about any
administrative proceedings that may relatetothefim orourstaff. Ifyou have any questions, pleasecontact yourinvestmentadvisor, Charles Dunlap—Chief
Financial Officer, or Robert Blanchard, Chief Operating Officer.

© Customers’ accounts are protected by the Canadian Investor Protection Fund within specified limits. A brochure describing the nature and
limits of coverage is available upon request.

® Securities transactions, as shown on this statement are disclosed to Revenue Canada Taxation on a yearly basis. The income or capital gain
from these transactions must be reported on your annual income tax return. Please keep this statement for Income tax purposes, as no other form
will be provided in respect of these transactions.

® Current Price is reported consistent with the currency of your account ie. a Canadian funds account will show all holdings as a Canadian
value and,conversely, the price of all securities in a U.S. funds account will be U.S.,regardless of the market on which the securities trade.

CONFIDENTIAL PURSUANT
TO SECTION 24 (d)

- 0625

Page 2
E&OE OUT 313

SEC046199
Case 1:07-cv-11387-DLC-DCF Document 233-7 Filed 01/14/11 Page 34 of 42

   

Suite 2000 - Commerce Place, 400 Burrard Street, Member:

Vancouver, B.C. V6C 3A6 TSX Venture Exchange
ea rr ee Ph: (604) 697-7100, Fax: (604) 697-7499 Toronto Stock Exchange
SECURITIES INC. Toll Free: 1-800-663-9499 Investment Dealers Association of Canada

Statement for the period ending May 31, 2003 CURTIS FAMILY TRUST
US DOLLAR CASH} 7 a
ee

Terms, conditions & other Information: (Continued)

® The following abbreviated codes will be used to describe securities held in an account as applicable; NVS ~ Non-voting shares, SVS ~
Subordinated voting shares, RVS - Restricted voting shares, RS — Restricted shares.

® LEVERAGE DISCLOSURE STATEMENT: Using borrowed money to finance the purchase of securities involves greater risk than a purchase
using cash resources only. If you borrow money to purchase securities, your responsibility to repay the loan and pay interest as required by its terms
remains the same even if the value of the securities purchased declines.

CONFIDENTIAL PURSUANT
TO SECTION 24 (d)

0626

Pago 3
E&OE OOUT 314

SEC046200
Case 1:07-cv-11387-DLC-DCF Document 233-7

HAYWOOD

SECURETIES INC.

 

Filed 01/14/11 Page 35 of 42

Member
Suite 2000 - Commerce Place, 400 Burrard Street, Member: i
Vancouver, B.C. V6C 3A6 TSX Venture Exchange
Ph: 604) 697-7100, Fax; (604) 697-7499 Toronto Stock Exchange
Toll Free: 1-800-663-9499 Investment Dealers Association of Canada

Statement of Account

CANADIAN DOLLAR CASH 88-0902-C -
For the period ending June 30, 2003
Previous Statement March 31, 2003

 

 

 

 

 

 

 

 

 

 

CURTIS FAMILY TRUST
For additional service, contact:
VANCOUVER 8C V6M kg HAROLD HODGSON
Investment Advisor
[ ACCOUNT SUMMARY |
Estimated
Current Value % of Assets
CASH ON DEPOSIT 0.00 0.0
COMMON SHARES 6,800.00 100.0
—___ — —
Total Assets $ 6,800.00 . 100.0
| CASH SUMMARY |
Opening Cash Amount $0.00
No Cash Transactions This Month
f SECURITIES SUMMARY |
Securities Estimated % of
Quantity Location Current Price Market Value Asseis
COMMON SHARES
>
VERB EXCHANGE INC 20,000 Segregated 340 6,800.00 100.0
Market Value of COMMON SHARES 6,800.00 100.0
L ACCOUNT ACTIVITY 7]
Settlement
Date Aclivity Type Quaniity Description Price Amount
No Transactions This Month
CONFIDENTIAL PURSUANT
- TO. SECTION 24 (d}
0627
Page 1

E&OE Oo/T 691

SEC046201
Case 1:07-cv-11387-DLC-DCF Document 233-7 Filed 01/14/11 Page 36 of 42

ye Member
capirat Mg Eggs Markets . i

 

Suite 2000 - Commerce Place, 400 Burrard Street, Member:
HH AY W © 0 D Vancouver, B.C. V6C 3A6 TSX Venture Exchange
Be KS Ph: (604) 697-7100, Pax: (604) 697-7499 Toronto Stock Exchange
SECURITIES INC: Toll Free: 1-800-663-9499 Investment Dealers Association of Canada
Statement for the peried ending June 30, 2003 CURTIS FAMILY TRUST -
CANADIAN DOLLAR CAS j2-C

Terms, conditions & other information:
x

® This is a statement of your account according to our records. If it is not in accordance with yours, please contact us immediately. Regardless,
we ask that you notify us of any discrepancies, in writing, within 45 days of the date on this statement. Statements will be considered accurate and
complete if not objected to by such date. We reserve the right to adjust this statement for errors and omissions.

® The prices shown on this statement, used for the purpose of displaying market values, while obtained from sources believed to be reliable,
cannot be guaranteed as to their accuracy. In any event, market values are shown as “estimated”. If "N/A" appears in connection with any specific
security, either there is no price or wa were unable to obtain a reliable one.

® We anticipate prompt settlement of cash balances due to us.

Credit balances are payable on request, upon receipt by us of secutities in "good delivery" form that may be owed by you.

® any free credit balances, with the exception of balances held for registered plans, represent funds payable on demand, which
although properly recorded in our books, are not segregated and may be used in the conduct of our business.

® Please refer to your account number on all correspondence.

A statement of financial condition and a list of shareholders, directors and senior officers of our firm are available on request.

® Our clients in British Columbia are entitled to certain information about us, including information about commissions and fees, and about any
administrative proceedings thatmay relate tothe firmorourstaff. Ifyouhaveany questions, please contact yourinvestmentadvisor, Charles Dunlap—Chief
Financial Officer, or Robert Blanchard, Chief Operating Officer.

© Customers’ accounts are protected by the Canadian Investor Protection Fund within specified limits. A brochure describing the nature and_
limits of coverage is available upon request,

® Securities transactions, as shown on this statement are disclosed to Revenue Canada Taxation on a yearly basis. The income or capital gain

from these transactions must be reported on your annual income tax return. Please keep this statement for income tax purposes, as no other form

will be provided in respect of these transactions.

Current Price is reported consistent with the currency of your account ie. a Canadian funds account will show all holdings as a Canadian

value and,conversely, the price of all securities in a U.S. funds account will be U.S.,regardless of the market on which the securities trade.

The following abbreviated codes will be used to describe securities held in an account as applicable; NVS - Non-voting shares, SVS —

Subordinated voting shares, RVS — Restricted voting shares, RS - Restricted shares.

® LEVERAGE DISCLOSURE STATEMENT:. Using borrowed money to finance the purchase of securities involves greater risk than a purchase
using cash resources only. If you borrow money to purchase securities, your responsibility to repay the loan and pay interest as required by its terms
remains the same even if the value of the securities purchased declines.

CONFIDENTIAL PURSUANT
. TO SECTION 24 (d)

0628

Page 2
E&OE OOJT 692

SEC046202
Case 1:07-cv-11387-DLC-DCF Document 233-7

HAYWOOD

ene ert
SECURITIES ENC.

Suite 2000 - Commerce Place, 400 Burrard Street,
Vancouver, B.C. V6C 3A6

Ph: (604) 697-7100, Fax: (604) 697-7499

Tolf Free: 1-800-663-9499

Member:

TSX Venture Exchange
Toronto Stock Exchange
Investment Dealers Association of Canada

Filed 01/14/11 Page 37 of 42

 

Statement of Account
US DOLLAR CASH @iga@-0902-U

For the period ending June 30, 2003

Previous Statement May 31, 2003

 

 

 

 

 

 

 

 

 

CURTIS FAMILY TRUST .
For additional service, contact:
VANCOUVER BC V6M 1K9 HAROLD HODGSON
invesiment Advisor
| ACCOUNT SUMMARY
Estimated
Current Value % of Assels
CASH ON DEPOSIT 133,15 0.0
MONEY MARKET 339,096.42 _ 100.0 _
Total Assets $ 339,229.57 100.0
CASH SUMMARY |
Opening Cash Amount $ 10,818.65CR
Deductions Additions
SECURITIES PURCHASED 338,991.23. 0.00
INVESTMENT INCOME/EXPENSE 0,00 35.81
CHEQUES ISSUED 50,000.00 12,769.92
SECURITIES SOLD 0.00 365,500.00
Totals $ 388,991.23 $ 378,305.73
Net Changes This Period 10,685.50DR
Closing Cash Amount $ 133.15CR
SECURITIES SUMMARY |
Securities Estimated % of
Quantity Location Current Price Market Value Assois
MONEY MARKET

CIBC B/A USD 21JUL2003 339,300 Segregated: 99.940 339,096.42 100.0

Market Value of MONEY MARKET 339,096.42 100.0

CONFIDENTIAL PURSUANT
- TO SECTION 24 (d)
0629
Page 1

E&OE OOJT 693

SEC046203
Case 1:07-cv-11387-DLC-DCF Document 233-7 Filed 01/14/11 Page 38 of 42

 

 

 

 

 

 

Member
CAPITAL - _ MARKETS
Suite 2000 - Commerce Place, 400 Burrard Street, Member:
H AY W 0 0 D Vancouver, B.C. V6C 3A6 TSX Venture Exchange
eS Ph: (604) 697-7100, Fax: (604) 697-7499 Toronto Stock Exchange
SRCURITIES INE Toll Free: 1-800-663-9499 Investment Dealers Association of Canada
Statement for the period ending June 30, 2003 CURTIS FAMILY TRUST -
US DOLLAR CASH@EEPO2-U
|. ACCOUNT ACTIVITY
Settlement
Date Activity Type Quantity Description Price . Amount
06/01 Opening Balance $ 10,818.65 CR .
06/12 Cheque Issued 079071 ISS: PRUDENTIAL 50,000.00 DR
SUSSEX JASON
SOPROVICH-P/U
06/12 Cheque Issued 079071 EXCHANGE POSTING 12,769.92 CR
06/13 Sell ~ 365,500 RYL BK B/A USD 13JUN2003 400.00 365,500.00 CR
06/17 Buy ‘ 339,300 CIBC B/A USD 21JUL2003 99.909 338,991.23 DR
06/21 Mthly Interest INTEREST TO 06/21 35.81 CR
06/30 Closing Balance $ 133.15 CR
| SUMMARY OF INCOME AND EXPENSES |
Month Year to Date
income Expense income Expense
INTEREST 35.81 nil 234.14 nit

Terms, conditions & other Information:

® This is a statement of your account according to our records. If it is not in accordance with yours, please contact us immediately. Regardless,
we ask that you notify us of any discrepancies, in writing, within 45 days of the date on this statement. Statements will be considered accurate and
complete if not objected to by such date. We reserve the right to adjust this statement for errors and omissions.

© The prices shown on this statement, used for the purpose of displaying market values, while obtained from sources believed to be reliable,
cannot be guaranteed as fo their accuracy. In any event, market values are shown as "estimated". If "N/A" appears in connection with any specific
security, either there is no price or we were unable to obtain a reliable one.

® We anticipate prompt settlement of cash balances due to us.

® Credit balances are payable on request, upon receipt by us of securities in “good delivery” form that may be owed by you.

® Any free credit balances, with ‘the exception of balances held for registered plans, represent funds payable on demand, which
although properly recorded in our books, are not segregated and may be used in the conduct of our business.

© Please refer to your account number on all correspondence.

© Astatement of financial condition and a list of shareholders, directors and senior officers of our firm are available on request.

® Our clients in British Columbia are entitled to certain information about us, including information about commissions and fees, and about any
administrative proceedings that may relatetothefirm orourstaff. Ifyouhaveany questions, please contact yourinvestmentadvisor, ChariesDunlap— Chief
Financial Officer, or Robert Blanchard, Chief Operating Officer.

® Customers’ accounts are protected by the Canadian Investor Protection Fund within specified limits. A brochure describing the nature and
limits of coverage is available upon request.

® Securities transactions, as shown on this statement are disclosed to Revenue Canada Taxation on a yearly basis. The income or capital gain
from these transactions must be reported on your annual income tax return, Please keep this statement for income tax purposes, as no other form
will be provided in respect of these transactions, :

CONFIDENTIAL PURSUANT
TO SECTION 24 (d)

: 0630

Page 2
E&OE OOJT 694

SEC046204
Case 1:07-cv-11387-DLC-DCF Document 233-7 Filed 01/14/11 Page 39 of 42 |

 

CAPITAL QRER GB MARKETS
Suite 2000 - Commerce Place, 400 Burrard Street,
H Y Vancouver, B.C. V6C 3A6
aa es SS ™ Ph: (604) 697-7100, Fax: (604) 697-7499
SECURITIES INC. Toll Free: 1-800-663-9499

Statement for the period ending June 30, 2003

Terms, conditions & other information: (Continued)

Member

Member:

TSX Venture Exchange

Toronto Stack Exchange .
Investment Dealers Association of Canada

CURTIS FAMILY TRUST
US DOLLAR CASKQM@M—0902-U

© Current Price is reported consistent with the currency of your account ie. a Canadian funds account will show all holdings as a Canadian
value and,conversely, the price of all securities in a U.S. funds account will be U.S.,regardless of the market on which the securities trade.
® The following abbreviated codes will be used to describe securities held in an account as applicable; NVS - Non-voting shares, Svs -—

Subordinated voting shares, RVS ~ Restricted voting shares, RS — Restricted shares.

® LEVERAGE DISCLOSURE STATEMENT: Using borrowed money to finance the purchase of securities involves greater risk than a purchase
using cash resources only. If you borrow money to purchase securities, your responsibility to repay the loan and pay interest as required by its terms

remains the same even if the value of the securities purchased declines.

E&OE 00JT 695

CONFIDENTIAL PURSUANT
TO SECTION 24 (d)

0631

Page 3

SEC046205
Case 1:07-cv-11387-DLC-DCF Document 233-7

capital Aggy Markers

HAYWOOD

dit ead Ww ovNsY=
SECURITIES ING

Suite 2000 - Commerce Place, 400 Burrard Street,
Vancouver, B.C. V6C 3A6

Ph: (604) 697-7100, Fax: (604) 697-7499

Toll Free: 1-800-663-9499

Filed 01/14/11 Page 40 of 42

Member

Member:

TSX Venture Exchange

Toronto Stock Exchange

Investment Dealers Association of Canada

Statement of Account
US DOLLAR CASH @iifg-0902-U

For the period ending July 31, 2003

Previous Statement June 30, 2003

 

 

 

 

 

 

 

 

 

 

 

 

CURTIS FAMILY TRUST
For additlonal service, contact:
VANCOUVER BC V6M 1K9 HAROLD HODGSON
investment Advisor
| ACCOUNT SUMMARY
Estimated
Current Value % of Assets
MONEY MARKET 339,320.00 100.0
Total Assets $ 339,320.00 100.0 _
DEBIT CASH BALANCE OF $132,163.53DR
| CASH SUMMARY
Opening Cash Amount $ 133.15CR
Deductions Additions
SECURITIES PURCHASED 339,422.00 0,00
CHEQUES ISSUED 187,000.00 48,825.32
SECURITIES SOLD 0.00 339,300.00
Totals $ 520,422.00 $ 388,125.32
Net Changes This Period 132,296.68DR
Closing Cash Amount $ 132,163.53DR
SECURITIES SUMMARY
Securities Estimated % of
Quantity Location Current Price Market Value Assets
MONEY MARKET
- CONFIDENTIAL PURSUANT
TO SECTION 24 (d)
0632
Page?

E&OE OOJT 325

SEC046206
Case 1:07-cv-11387-DLC-DCF Document 233-7

CAPITAL -33 MARKETS

HAYWOOD

SBCURITIES INE,

Suite 2000 - Commerce Place, 400 Burrard Street,
Vancouver, B.C. Y6C 3A6

Ph: (604) 697-7100, Fax: (604) 697-7499

Toll Free: 1-800-663-9499

Filed 01/14/11 Page 41 of 42

Member

Member:

TSX Venture Exchange

Toronto Stock Exchange

Investment Dealers Association of Canada

 

 

 

 

 

 

 

Statement for the period ending July 31, 2003 CURTIS FAMILY TRUST
US DOLLAR CASH@Glp0902-U
| SECURITIES SUMMARY Continued
Securities Estimated % of
Quantity Location Current Price Market Value Assets
CDAT BILL USD 080CT2003 207,321 Segregated
132,679 Current 99.800 339,320.00 400.0
Market Value of MONEY MARKET 339,320.00 100.0
| ACCOUNT ACTIVITY |
Settlement
Date Activity Type Quantity Description Price Amount
07/01 Opening Baiance $ 193.15 CR
07/21 Sell - 339,300 CIBC B/A USD 21JUL2003 400.00 339,300.00 CR
07/22 Buy 340,000 CDA T BILL USD 080012003 99.830 339,422.00 DR
07/28 Cheque Issued 080763 ISS: WINFRED A 481,000.00 DR
VAN DER SANDE IN
TRUST-P/U
07/28 Cheque Issued 080763 EXCHANGE POSTING 48,825.32 CR
07/31 Closing Balance $ 132,163.53 DR
| SUMMARY OF INCOME AND EXPENSES
Month Year to Date
income Expense income Expense
INTEREST nil nil 234.14 nil

Terms, conditions & other information:

we ask that you notify us of any discrepancies, In writing,
complete if not objected to by such date. We reserve the right to adjust this statement for errors and
The prices shown on this statement, used for the purpose of displaying market values, while obtained
cannot be guaranteed as to their accuracy. In any event, market values are shown as “estimated”, If "N/A"
security, either there is no price or we were unable to obtain a reliable one.

We anticipate prompt settlement of cash balances due to us.

Cradit balances are payable on request, upon receipt by
Any free credit balances, with the exception of balances held for registered plans,
although properly recorded in our books, are not segregated and may be
Please refer to your account number on all correspondence.
A statement of financial condition and a list of shareholders,

represent

E&OE OOJT 326

‘This is a statement of your account according to our records. If it js not in accordance with yours, please contact us immediately. Regardiess,
within 45 days of the date on this statement. Statements will be considered accurate and
omissions.

from sources believed to be reliable,

appears in connection with any specific

us of securities in “good delivery" form that may be owed by you.

funds payable on demand, which

used in the conduct of our business.

directors and senior officers of our firm are available on request.

CONFIDENTIAL PURSUANT
TO SECTION 24 (4)

0633

Page 2

SEC046207
Case 1:07-cv-11387-DLC-DCF Document 233-7 Filed 01/14/11 Page 42 of 42

aly Member
CAPITAL TEESE MARKETS or

Suite 2000 - Commerce Place, 400 Burrard Street, Member:
HH A Vancouver, B.C. V6C 3A6 TSX Venture Exchange
an nn Ph: (604) 697-7100, Fax: (604) 697-7499 Toronto Stock Exchange
SECURITIES INC. Toll Free: 1-800-663-9499 Investment Dealers Association of Canada
CURTIS FAMILY TRUST

Statement for the period ending July 31, 2003
US DOLLAR CASH @qggp902-U

Terms, conditions & other Information: (Continued)

© our clients in British Columbia are entitled to certain information about us, including information about commissions and fees, and about any
administrative proceedings that may relatetothe firm orourstaff. Ifyou haveany questions, pleasecontact yourinvestmentadvisor, Charies Dunlap—Chief
Financial Officer, or Robert Blanchard, Chief Operating Officer.

® Customers’ accounts are protected by the Canadian Investor Protection Fund within specified limits. A brochure describing the nature and
limits of coverage is available upon request.

® Securities transactions, as shown on this statement are disclosed to Revenue Canada Taxation on a yearly basis. The income or capital gain
from these transactions must be reported on your annual income tax return. Please keep this statement for income tax purposes, as no other form
will be provided in respect of these transactions. .

® Current Price is reported consistent with the currency of your account Le. a Canadian funds account will show all holdings as a Canadian
value and,conversely, the price of all securities in a U.S. funds account will be U.S.,regardless of the market on which the securities trade.

® The following abbreviated codes will be used to describe securities held in an account as applicable; NVS - Non-voting shares, SVS —
Subordinated voting shares, RVS — Restricted voting shares, RS - Restricted shares.

® LEVERAGE DISCLOSURE STATEMENT: Using borrowed money to finance the purchase of securities involves greater risk than a purchase—
using cash resources only. If you borrow money to purchase securities, your responsibility to repay the loan and pay interest as required by its terms
remains the same even if the value of the securities purchased declines.

CONFIDENTIAL PURSUANT
TO SECTION 24 (d)

. 0634

Page 3
E&OE COUT 327

SEC046208
